 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 1 of 107

JUC*IC¢AL PANEL UN
'\AULTED'STR*(, !_lTlGAT|ON

jle ““6 2007

1 8 6 9 F:Leo
. 1 CLERK'S oFFscE

BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
In Re

RAILROAD ANTITRUST LITIGATION

MDL Docket No. /00_@ 2

\./\/\/V\/\/

 

PLAINTIFF DUST PRO, INC.'S MOTION
FOR TRANSFER OF RELATED ACTIONS FOR COORDINATED OR
CONSOLIDATED PRETRIAL PROCEEDINGS PURSUANT TO 28 U.S.C. 8 1407

;x

c
-
v_

Plaintiff and Movant Dust Pro, Inc. (“Dust Pro”) respectfully moves the Panel for an

order, pursuant to 28 U.S.C. § 1407, transferring the case of Dad’s Products Companv, Inc. v.

¢9..4.,

BNSF Railway Companv, et al, Case No. 07CV2954, Which is currently pending in the Northern

P

District of Illinois, to the District of New Jersey for consolidation with two other earlier-filed and
virtually identical actions -- Dust Pro. Inc. v. CSX Transportation, Inc., Civil Action No. 07-
2251 (DMC), and Issac Industries, Inc. v. CSX Transportation, Inc., Civil Action No. 07-02289
(DMC) -- already pending in the District of NeW Jersey and assigned to the Honorable Dennis
M. Cavanaugh, U.S.D.J.

Each of the three cases is an antitrust class action brought against the five majEUS- ,\

based railroads: CSX Transportation, Inc. ("CSX"), BNSF Railway Company ("BNS§), Uni_»'tB

in
' m
Paciflc Railroad Company ("UP"), Norfolk Southern Railway Company ("NS")`, and Ka'nsas §E'
;‘1 U 1133

"" § 63

OFFlClAL F|LE COPY § °° m

61042/213]525.1

lMAGED JuN s 2007, 1

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 2 of 107

Southern Railway Company ("KCS"). The plaintiffs in the Illinois case allege that they were
damaged by the Same conduct and conspiracy that is alleged in the New Jersey cases. Indeed,
Illinois “copyca ” complaint is a virtual carbon copy of the Dust Pro complaint in the District of
New Jersey, which was the first filed case and which reflected significant factual and legal
investigation Given the identical nature of the allegations, causes of action, and questions of
fact in these cases, transfer and consolidation is appropriate and necessary to conserve the
resources of the parties, their counsel, and the judiciary; to prevent inconsistent pre-trial rulings;
and to avoid duplication of discovery.

Dust Pro submits that the most appropriate venue for these cases is the District of New
Jersey, in Newark, before Judge Cavanaugh. New Jersey is where the first case was filed and
where two of the three cases are pending and already assigned to Judge Cavanaugh. Judge
`Cavanaugh is experienced in significant class action litigation and is not currently handling
another MDL proceeding

The District of New Jersey is a logical and convenient forum for this litigation New
Jersey, and in particular the Newark area, is a genuine “nerve center” for the railway industry,
with billions of dollars of rail freight moving through the state each year. Newark is a key point
of origination and termination for much of the defendants' rail freight traffic. The defendants
own vast networks of tracks, stations, yards and switching facilities in the District, and northern
New Jersey is one of the national most important rail crossroads. The defendants maintain
offices within the District.

Newark is home to a maj or international airport and is also one of the most convenient
and accessible venues in the nation. The Panel has previously recognized this accessibility and

convenience

61042/2131525.1 2

 

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 3 of 107

Because it would be inefficient to carve out separate proceedings for the Dad's case in
Illinois, which shares common questions of fact with the cases currently before Judge
Cavanaugh, and because the District of New Jersey as logical and convenient forum as any for
this litigation, Dust Pro respectfully proposes that the Dad ’s case be transferred to the Honorable
Dennis M. Cavanaugh in the District of New Jersey.

Dust Pro also anticipates that other complaints may be filed containing similar
allegations, Thus, Dust Pro requests that any such subsequently-filed actions be treated as tag-
along actions under Rule 7.4 of the Rules of Procedure of the Judicial Panel on Multidistrict
Litigation, subject to consolidation in the same venue as these actions in order to "promote the
just and efficient conduct of the cases." 28 U.S.C. § 1407.

A supporting brief is submitted herewith.

Dated: June 1, 2007

 

Respectfully SubmiM
J ames E. Cecchi Steplien R Neuwirth
Carella, Byrne, Bain, Gilfillan, Quinn Ernanuel Urquhart Oliver&
Cecchi, Stewart & Olstein & Hedges, LLP

5 Becker Farrn Road 51 Madison Avenue
Roseland, New Jersey 07068 New York, New York 10010
(973) 994-1700 (212) 849-7165

(212) 849-7100 (fax)

Daniel Brockett

David Azar

Melissa Dalziel

Quinn Emanuel Urquhart Oliver

& Hedges, LLP

865 S. Figueroa Street
Los Angeles, California 90017
(213) 443- 3000

Richard Scruggs

Sidney Backstrom
Scruggs Law Firm, P.A.

61042/2131525.\ 3

 

 

 

Case |\/|DL No. 1869 Document 1 Filed O6/O6/O7 Page 4 of 107

120A Courthouse Scluare

P.O. Box 1136
Oxford, MS 38655
(662) 281 1212

Paul Donovan

LaRoe, Winn, Moerman & Donovan
4135 Parkglen Court, N.W.
Washington, D.C. 20007

(202) 298-8100

Attorneys F or PlaintiffDust Pro, Inc.

61042/2131525.1

 

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 5 of 107

JUD|CIAL PANEL ON
MULTID|STR§CT L!TIGAT|ON

JUN '"6 2007

FlLED
CLERK'S OFFFCE

BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
In Re

RAILROAD ANTITRUST LITIGATION

MDL Docket No. l 82/@ 9

\/\./\_/\_/\_/\/

 

BRIEF IN SUPPORT OF PLAINTIFF DUST PRO, INC.'S
MOTION FOR TRANSFER OF RELATED ACTIONS FOR COORDINATED OR
CONSOLIDATED PRETRIAL PROCEEDINGS PURSUANT TO 28 U.S.C. 8 1407

Pursuant to 28 U.S.C. § 1407, plaintiff Dust Pro, Inc. ("Dust Pro") respectfully moves
this Panel for transfer and consolidation of three separate antitrust class actions containing
virtually identical allegations of price fixing by the five major U.S.-based railroads The cases --
all of which name the same defendants -- are currently pending in two different districts (§e§
Appendix A, a summary of defendants and districts), and involve common questions of fact and
law concerning allegations that the defendant railroads conspired to fix prices of rail fuel
surcharges for rail freight transportation pursuant to private contracts and other means exempt
from federal rate regulation Dust Pro requests that the Panel transfer and consolidate all cases in
the District of New Jersey, where two of the three existing and virtually identical cases,

including the first-filed case, are currently pending Dust Pro respectfully submits that the

. . . . . , . .,_._\ , .._
District of New Jersey is the most appropriate venue for the litigation (m q _
, 1 §§ z --i §
. ,,..i
v.' , “'“`E C'?
___ ':; o g
1 ‘ j l rij <
f ~ 1; 'U ~~n m
m ~n ca
y ji(“ ":".' C')
a w m

 

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 6 of 107

I. INTRODUCTION

On May 14, 2007, movant Dust Pro commenced its antitrust action, filing a complaint
that reflected significant factual and legal investigation The case concerned the defendant
railroads’ imposition of fuel surcharges to freight transported pursuant to private contracts and
other means exempt from federal regulation In January 2007, the federal Surf`ace Transportation
Board, which has jurisdiction limited to rate-regulated rail freight traffic, found that the
defendants’ fuel surcharges are an “unreasonable practice,” and that they were used as a means
to enhance revenue rather than recover the actual cost of fuel for particular freight shipments
Dust Pro’s case was assigned to the Honorable Dennis M. Cavanaugh, U.S.D.J.

Since Dust Pro’s filing, a virtually identical complaint has been filed on behalf of another
plaintiffs in the District of New Jersey. This have been filed as a related case and has been
assigned to Judge Cavanaugh. Another virtually identical “copycat” complaint has subsequently
been filed in the Northern District of Illinois.

Transfer of these virtually identical cases to a single forum for pre-trial proceedings is
plainly necessary to conserve the resources of the parties, their counsel and the courts, to prevent
inconsistent rulings in different forums, and to avoid duplication of discovery.

Dust Pro respectfully submits that the most appropriate venue for these cases is the
District of New Jersey, in Newark, before Judge Cavanaugh. Two of the three pending cases
have been filed in that District and assigned to Judge Cavanaugh. Judge Cavanaugh has already
begun to familiarize himself with the issues in the case, and has stated his intention to schedule
an initial case management conference at the “earliest possible date.” Judge Cavanaugh is well

experienced in significant class action litigation but at the same time is not currently burdened

by an MDL proceeding

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 7 of 107

Newark, New Jersey, is also as logical a forum as any other for this litigation New
Jersey, and in particular the Newark area, is a genuine “nerve center” for the railway industry,
with billions of dollars of rail freight each year. Newark is a key point of origination and
termination for much of the rail freight that travels across multiple defendants’ rail lines. The
defendants own vast networks of tracks, stations, yards and switching facilities in the district,
and Northern New Jersey is one of the nation’S most important rail crossroads. It is not
surprising that the defendants maintain offices within the District.

Newark is also proximate to Washington, D.C., the headquarters of the Association of
American Railroads (the “AAR”), the organization that is alleged (in all of the pending suits) to
have been a principal vehicle through which the defendants developed and implemented their
price fixing conspiracy. The AAR will likely be a very significant third party in the litigation
and a principal focus of the document and deposition discovery.

Newark, with its maj or international airport and passenger train connections, is also one
of the most convenient and accessible venues in the nation, and this Panel has previously
recognized that accessibility.

II. FACTUAL BACKGROUND

A. Procedural History

On May 14, 2007, Dust Pro filed its Complaint in the District of New Jersey (Civil
Action No. 07-02251 (DMC)). Dust Pro’s Complaint is a detailed and comprehensive document,
reflecting significant factual and legal investigation The Dust Pro case was assigned to Judge
Dennis M. Cavanaugh. The very next day, lssac Industries, Inc. filed a virtually identical class
action against the same defendant railroads (Civil Action No. 07-02289 (DMC)). This lssac
Complaint was filed in the District of New Jersey and was also assigned to Judge Cavanaugh as

a case related to Dust Pro’s action

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 8 of 107

On May 25, 2007, Dad's Products Company, Inc. ("Dad's") filed another virtually
identical, “copycat” class action against the same group of defendants in the Northern District of
Illinois, Eastern Division (Case No. 07CV2954). The Dad ’s action has been assigned to Judge
Samuel Der-Yeghiayan.

B. The Complaints

Dust Pro’s complaint, and the two virtually identical complaints that followed, charge the
five major US-based railroad freight haulers with price fixing in violation of Section 1 of the
Sherman Act. The Complaints center on the same key factual allegations ~ that since July 2003,
the railroads have conspired to fix, maintain or stabilize prices of rail fuel surcharges imposed on
rail freight transportation pursuant to private contracts and other means exempt from federal rate
regulation These private rail contracts and other exempt means constitute the majority of freight
shipments When the federal Surface Transportation Board (the “STB”) in January 2007 found
the railroad’s freight surcharges to be an “unreasonable practice” used to raise revenue rather
than recover actual fuel costs, the STB noted that its jurisdiction is limited to rate regulated
freight traffic and does not reach the private contracts and exempt traffic that are the subject of
the Dust Pro complaint and the other virtually identical pending actions.

The cases are brought on behalf of all companies that directly purchased rate-unregulated
rail freight transport services from defendants since mid-2003 and who were assessed a rail fuel
surcharge The Dust Pro complaint, and the two other virtually identical complaints filed
thereafter, all have the identical class definition See Dust Pro. Compl., 1111 1-2; lssac Compl., 1111

1-2; Dad's Compl., 1111 1-4.

 

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 9 of 107

III. ARGUMENT

A. Consolidating The Three Railroad Antitrust Cases
Will Achieve The Objectives Of Section 1407.

1. The Cases Involve Identical Factual and Legal Issues.

These cases are all brought against the same five defendants: CSX Transportation, Inc.
(“CSX”), Norfolk Southern Railway Company (“NS”), BNSF Railway Company (“BNSF”),
Union Pacific Railroad Company (“UP”), and Kansas City Southern Railway Company
(“KCS”). Each complaint states the same allegation » that the defendants violated the Sherman
Act by fixing the prices of rail fuel surcharges. Each complaint, as noted above, also defines the
class in exactly the same way. The cases differ only in the named class representative The fact
that all of the cases share the same parties and claims creates numerous common factual issues.
lndeed, each complaint uses the identical language to describe the common questions of law and
fact, which "exist as to all members of the Class" and "which predominate over any questions
affecting solely individual members of the class." (See Dust Pro Compl., 11 23; lssac Compl., 11
23; Dad's Compl., 11 24).

The complaints also plead the same cause of action for violation of § 1 of the Sherman
Act, and seek the identical relief. (See Dust Pro Compl., 1111 69-73, Prayer for Relief; lssac
Compl., 1111 69-74, Prayer for Relief; Dad's Compl., 1111 72-77, Prayer for Relief).

Where antitrust class actions involve common questions of fact, this Panel has frequently
found that "centralization under Section 1407 will serve the convenience of the parties and
witnesses and promote the just and efficient conduct of this litigation" and is "necessary in order
to avoid duplication of discovery, prevent inconsistent or repetitive pretrial rulings, and conserve
the resources of the parties, their counsel and the judiciary." ln re Visa/MasterCard Antitrust

Litigation, 295 F.Supp.2d 1379, 1380 (Jud.Pan.Mult.Lit. 2003).

 

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 10 of 107

2. The Complaints Are Brought On Behalf
Of An Identical Class of Plaintiffs.

Where several actions have been brought on behalf of similar or overlapping classes of
plaintiffs, this Panel has found compelling justification for transfer and consolidation of the
actions It is obviously desirable to have a single judge oversee multiple but identical class
actions in order to avoid duplicative efforts and inconsistent rulings See In re Resource
Exploration, Inc., Securl`ties Litigation, 483 F.Supp. 817, 821 (Jud.Pan.Mult.Lit. 1980); In re
National Airll`nes, Inc. Materm'ly Leave Practices and F light Attena’ant Weight Program
Litigation, 399 F.Supp. 1405, 1407 (Jud.Pan.l\/Iult.Lit. 1975) (holding that need to eliminate
possibility of overlapping class determinations presents compelling reason to bring actions
pending in different districts together for pretrial in single jurisdiction); In re First Nat. Bank,
Heavener, Okl. (Firsl Mortg. Revenue Bonds) Securz'tz'es Litigation, 451 F.Supp. 995, 997
(Jud.PanMult.Lit. 1978) ("Because these actions have been brought on behalf of the same
plaintiff class, we emphasize that it is desirable to have a single judge oversee the class action
issues in both actions to avoid duplicative efforts in this area.").

3. Transfer Is Necessary To Conserve The Resources
of the Parties, Counsel, and Judiciarv.

Unquestionably, these cases involve identical issues lt would be a waste of judicial
resources to have multiple judges addressing them simultaneously It would be equally wasteful
to have the parties and their counsel litigating the same issues in multiple fora. The documents
and witness are common to all actions, with the exception of the named plaintiffs A uniform
case management and discovery plan will save all parties and the courts both time and money.

See In re Peruvian Roaa' Litigation, 380 F. Supp. 796, 798 (Jud.Pan.Mult.Lit. 1974) ("Although

only a limited number of actions are involved in this litigation, . . . [t]he factual allegations in all

 

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 11 of 107

actions are inextricably intertwined and raise sufficiently complex factual issues . . . to warrant
transfer. ")

4. Transfer Is Necessary To Coordinate
Discoverv and Avoid Inconsistent Rulings.

Price fixing cases have repeatedly been found by the Panel to be appropriate for
consolidation to eliminate duplicative discovery and prevent inconsistent pretrial rulings See In
re Intern. Air Transp. Surcharge Antitrusl Litigation, 460 F.Supp.2d 1377 (Jud.Pan.Mult.Lit.
2006); In re Parcel Tanker Shipping Services Antitrust Litigation, 296 F.Supp.2d 1370
(Jud.Pan.Mult.Lit. 2003). See also In re Peruvian Roaa' Litigation, 380 F. Supp. at 798 (transfer
was necessary to "eliminate the possibility of inconsistent decisions").

The cases already filed demonstrate the need for a coordinated discovery plan Absent
transfer, discovery will be overlapping and duplicative, proceeding with different schedules and
deadlines in different courts Coordinated and consolidated proceedings by contrast, will further
the convenience of the parties and conserve judicial resources
B. The Pending Actions, and Any Tag-Along Cases Filed in the Future, Should All Be

Assigned to Judge Cavanaugh iii the District of New Jersey, and the Action Now
Pending in the Northern District of Illinois Should Be Transferred to That Court.

1. New Jersey is a Nerve Center for Rail Freight Transport, and The Location
of Parties, Documents and Witnesses All Support Venue in New JerseL

New Jersey, and in particular the Newark area where Judge Cavanaugh sits, is one of the
key “nerve centers” in the nation for rail freight transportation The defendants maintain offices
and maj or operations in the District of New Jersey, including the Newark area:

0 Defendant CSX maintains business offices in Kearney, New Jersey, and operates and/or
serves rail terminals in the cities of Port Newark, Newark, Jersey City, Elizabeth, North

Bergen, Keamey and Ridgefield, through which CSX originates and terminates rail

traffic.

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 12 of 107

Defendant NS maintains business offices in Jersey City, New Jersey, and operates and/or
serves rail terminals in the cities of Port Newark, Newark, Jersey City and Elizabeth,
through which NS originates and terminates rail traffic.

CSX and NS together jointly own Conrail, which acts as a switching carrier for CSX and
NS and operates almost 200 miles of rail lines in the Northern New Jersey, The hub of
Conrail activities in the region is the Oak Island Yard in Newark, with small local Serving
yards throughout Northern New Jersey,

Together, CSX and NS move all rail traffic into and out of the New Jersey/New York
area. The vast majority of that traffic originates or terminates within northern New
Jersey, and in the environs of Newark. For example, each year CSX and NS handle to
and from the Newark area tens of thousands of carloads of various commodities, such as
chemicals, and merchandise freight. Additionally, with respect to container (or
“intermodal”) traffic, in 2006 CSX and NS handled 339,000 containers at on-dock rail
facilities in Newark, and also handled an additional 100,000-plus containers moving in
domestic service through other rail terminals in the Newark area.

Defendant BNSF’s wholly-owned subsidiary, MBSF Logistics, LLC, maintains business
offices in Williamstown, New Jersey, BNSF also originates and terminates rail traffic in
New Jersey by providing transportation in interchange service with CSX and NS.
Defendant UP maintains at least one employee or agent in the District of New Jersey. UP
originates and terminates rail traffic within New Jersey by providing transportation in
interchange service with CSX and NS.

Defendant KCS also originates and terminates traffic within the District of New Jersey by

providing rail transportation in interchange service with CSX and NS.

 

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 13 of 107

lt is also particularly significant that Newark, New Jersey is in close proximity to, and
within easy rail or auto travel from, Washington, D.C., the home of the Association of American
Railroads ~ the organization that all of the actions allege was a principal vehicle through which
the defendants developed and implemented their price-fixing conspiracy. Each of the defendants
is a member of the AAR; each of the defendants’ is represented on the AAR board; and the
complaints allege that the defendants dominate the organization The complaints note, by way of
example, that the AAR was the body through which defendants announced that fuel would be
removed from the standard rate escalation provision applied to private freight transportation
contracts - a critical step in imposing the fuel surcharges at issue The complaints also explain
how the AAR is a means of regular communication among the defendants and their senior
officers lt is inevitable that the AAR will be a key third party witness in the litigation, and that
the AAR will be a major focus of discovery.

Certainly, in all of the foregoing respects, New Jersey is as appropriate a forum as any
other, and in many respects a more appropriate forum than the Northern District of Illinois.

2. Judge Cavanaugh Is Experienced In Antitrust Litigation
And Is Not Currentlv Assigned to Anv MDL Actions.

One factor this Panel considers in determining the preferable transferee district is “the
experience, skill, and caseloads of available judges.” MANUAL FOR COMPLEX LITIGATION (4th
Ed.), § 20.131, at 221. Judge Cavanaugh is well qualified to handle class actions, including on
antitrust issues, having previously managed numerous such cases See e.g., Danvers Motor Co.,
Inc. v. Ford Motor Co., Civil Action No. 02-2197 (2007) (class action asserting violations of
Robinson-Patman Act); Desantis v. Snap-On Tools Co., LLC, Civil Action No. 06-2231 (2007)

(class action); Desantis v. Snap-On Tools Co., LLC, Civil Action No. 06-2231 (2006) (class

action asserting deceptive business practices); Weiss v. Regal Collections, Civil Action No. 01-

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 14 of 107

881 (2006) (class action for violations of Fair Debt Collection Practices Act); Simon v. KPMG
LLP, Civil Action No. 05-3189 (2006) (class action against tax advisors for bad tax advice);
Poling v. K. Hovnanian Enterprz`ses, Civil Action No. 99-431 (2000) (action for violation of
Sherman Act, Rico, and Securities Exchange Act). Notably, prior to Judge Cavanaugh’S
appointment as a District Judge in 2000, he served as a Magistrate Judge in the District of New
Jersey from 1993, where his primary civil responsibilities included the management of complex
litigation

While the “Distribution of Pending MDL Dockets” shows that this Panel has recently
approved of the District of New Jersey as a suitable MDL venue in 14 still pending cases of
national significance see <www.jpml.uscourts.gov/Pending_l\/[DLs/PendingMDL-
May007.pdf>, Judge Cavanaugh is not currently assigned any of these pending MDL matters

3. The District of New Jersey Is Experienced
In ManaQinQ Multi-District Litigation,

This Panel has frequently found that the District of New Jersey possesses the experience,
sophistication and resources needed for complex, multi-district antitrust actions See, e.g., ln re
Insurance Brokerage Antitrust Litigation, 360 F.Supp.2d 1371 , 1373 (Jud.Pan.Mult.Lit. 2005)
(“the district is equipped with the resources that this complex antitrust docket is likely to
require.”); 111 re Hypodermic Products Antitrust Litigation, 408 F.Supp.2d 1356, 1357
(Jud.Pan.Mult.Lit. 2005) (same).

As noted above, the Distribution of Pending MDL Dockets reveals that the Panel has
recently approved of the Distrct of New Jersey as a suitable MDL venue in 14 still-pending cases
of national significance See <www.jpml.uscourts.gov/Pending_l\/IDLs/Pendingl\/IDL-

May007.pdf>.

10

 

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 15 of 107

4. The District of New Jersey Is Readily Accessible
and a Maior Transnortation Hub.

This Panel’s rulings have also recognized that Newark is “an accessible metropolitan
location” See, e.g., In re lnsurance Brokerage Antitrust Litigation, 360 F.Supp.2d at 1373.
With a maj or international airport offering frequent direct flights throughout the United States,
and with regular passenger train service, Newark is as readily accessible to all of the parties as
any other city. Moreover, as compared to the Northern District of lllinois, the District of New
Jersey offers the advantage of ready access to Washington, D.C., where key third party the AAR
is headquartered

C. Any Subsequently Filed Tag-Along Actions Should Be
Transferred To The District Of New Jersey.

Dust Pro anticipates that additional “copycat” complaints may be filed in the coming
weeks Dust Pro respectfully requests that any such subsequently filed actions be treated as tag-
along actions under Rule 7.4 of the Rules of Procedure of the Judicial Panel on Multidistrict
Litigation, subject to consolidation in the same venue as these actions in order to "promote the
just and efficient conduct of the cases." 28 U.S.C. § 1407.

IV. CONCLUSION

For the foregoing reasons, Dust Pro respectfully submits that the Panel should order that
all of the pending actions be consolidated before, and where necessary transferred to, the
Honorable Dennis M. Cavanaugh in the District of New Jersey for coordinated and consolidated
pretrial proceedings These cases involve "common questions of fact" and transfer would be "for
the convenience of parties and witnesses" and would "promote the just and efficient conduct" of
the actions 28 U.S.C. § 1407; see, e.g., In re Hypodermic Products Antitrust Litigation, 408
F.Supp.2d 1356, 1357 (Jud.Pan.Mult.Lit. 2005) (finding that the actions "involve common

questions of fact, and that centralization under Section 1407 in the District of New Jersey will

11

 

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 16 of 107

serve the convenience of the parties and witnesses and promote the just and efficient conduct of

the litigation").

Dated: June 1, 2007

J ames E. Cecchi

Carella, Byrne, Bain, Gilfillan,

Cecchi, Stewart & Olstein
5 Becker Farm Road
Roseland, New Jersey 07068
(973) 994-1700

Respectfully submitted,

mma/ya

Steplien R. Neuwirth

Quinn Emanuel Urquhart Oliver&
& Hedges, LLP

51 Madison Avenue

New York, New York 10010

(212) 849-7165

(212) 849-7100 (fax)

Daniel Brockett

David Azar

Melissa Dalziel

Quinn Emanuel Urquhart Oliver
& Hedges, LLP

865 S. Figueroa Street

Los Angeles, California 90017

(213) 443- 3000

Richard Scruggs

Sidney Backstrom
Scruggs Law Firm, P.A.
120A Courthouse Square
P.O. Box 1 136

Oxford, MS 38655

(662) 281 1212

Paul Donovan

LaRoe, Winn, Moerman & Donovan
4135 Parkglen Court, N.W.
Washington, D.C. 20007

(202) 298-8100

Attorneys For Plaintijj”Dust Pro, Inc.

 

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 17 of 107

JUDICSAL PANEL ON
MULT|D!STHlCT L|TlGAT|ON

JUN “6 2007

FILED
CLERK'S OFF|CE

BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

In Re

RAILROAD ANTITRUST LITIGATION

MDL DockeiNo. [QQQ

\_/V\./\./\/\./

 

Revised Schedule of Actionsl

The District of New Jersey Actions

Plaintiff:
Defendants:

District Court:
Civil Action No.:

Judge:
Cause of Action:

Type of Complaint:

Plaintiff:
Defendants:

District Court:

Dust Pro, Inc. v. CSX Transportation, et al.

Dust Pro, Inc., on behalf of itself and all others similarly situated

CSX Transportation, Inc., BNSF Railway Company, Union Pacific
Railroad Company, Norfolk Southern Railway Company, Kansas City
Southern Railway Company

District of New Jersey

07-02251 (DMC)

Hon. Dennis M. Cavanaugh

Violation of § 1 of the Sherman Act and § 4 of the Clayton Act

Class Action Demand for Jury Trial

Issac Industries, Inc. v. CSX Transportation, et al.

lssac Industries, Inc., on behalf of itself and all others similarly situated
CSX Transportation, Inc., BNSF Railway Company, Union Pacific
Railroad Company, Norfolk Southern Railway Company, Kansas City
Southern Railway Company

 

District of New Jersey » § ,._,

Civil Action No.: 07-02289 (DMC) j : f x
Judge: Hon. Dennis M. Cavanaugh : §_"_-,‘- H: §
w gin f.',):) i:_T_-_‘
l The Docket Sheets for each action are attached hereto. ":l §§ r_<r1
1903 > :“_‘©

.."i'* `“<;3_` n

§ m r'ri

00

 

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 18 of107

Cause of Action: Violation of § l of the Sherman Act and § 4 of the Clayton Act
Type of Complaint: Class Action, Demand for Jury Trial

The Northern District of Illinois Action

Dad’s Products Company, Inc. v. CSX Transportation, et al.

Plaintiff: Dad's Products Company, Inc., on behalf of itself and all others similarly
situated
Defendants: BNSF Railway Company, CSX Transportation, Inc., Kansas City

Southern Railway Company, Norfolk Southern Railway Company, Union
Pacific Railroad Company

District Court: Northern District of lllinois, Eastern Division
Civil Action No.: l :07-cv-02954
Judge: Hon. Samuel Der-Yeghiayan

Cause of Action: Violation of § 1 of the Sherman Act and § 4 of the Clayton Act
Type of Complaint: Class Action, Demand for Jury Trial

D.éned: June 4, 2007

Respect lly submitted

M~ /§HR éyp<~\~s$;»»-\

 

James E. Cecchi Ste§hen R. Neuwirth /
Carella, Byrne, Bain, Gilfillan, Quinn Emanuel Urquhart Oliver&
Cecchi, Stewart & Olstein & Hedges, LLP

5 Becker Farm Road 51 Madison Avenue
Roseland, New Jersey 07068 New York, New York 10010
(973) 994-1700 (212) 849-7165

(212) 849-7100 (fax)

Daniel Brockett

David Azar

Melissa Dalziel

Quinn Emanuel Urquhart Oliver
& Hedges, LLP

865 S. Figueroa Street

Los Angeles, California 90017

(213) 443- 3000

Richard Scruggs

Sidney Backstrom
Scruggs Law Firm, P.A.
120A Courthouse Square
P.O. Box 1136

Oxford, MS 38655

(662) 281 1212

 

 

Case |\/|DL No. 1869 Document 1 Filed O6/O6/O7 Page 19 of 107

Paul Donovan

LaRoe, Winn, Moerman & Donovan
4135 Parkglen Court, N.W.
Washington, D.C. 20007

(202) 298-8100

Attorneys F or Plaintijj"Dust Pro, Inc.

 

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 20 of 107

JUDiCiAL PANEL
MULTiDiSTRlCT l_lTiG(;\r`i"lOl\§

JUN 6 2007

men
CLERK‘S oFF»':cE

BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
In Re

RAILRCAD ANTITRUST LITIGATION

MDL Docket No. l g@ 9

\/\./\/\./\_/\/

 

CERTIFICATE OF SERVICE

Shahreen Mehj abeen, being duly sworn, deposes and says:

1. I am not a party to this action, am 18 years of age or older, and reside at Queens,
New York.
2. On June 1, 2007, I am causing true and correct copies of

- Plaintiff Dust Pro, Inc.’s Motion For Transfer Of Related Actions For Coordinated or
Consolidated Pretrial Proceedings Pursuant To 28 U.S.C. § 1407

- Brief In Support of Plaintiff Dust Pro, Inc.'s Motion For Transfer Of Related Actions For
Coordinated or Consolidated Pretrial Proceedings Pursuant To 28 U.S.C. § 1407

- Exhibits Submitted With Brief In Support Of Plaintiff Dust Pro, Inc.’s Motion For

Transfer Of Related Actions For Coordinated or Consolidated Pretrial Proceedings
Pursuant To 28 U.S.C. § 1407

- Schedule of Actions

§ “:i
to be served by Federal Express overnight delivery on the following addressees: ; ¢-CE f,;\ gun
Robert N. Kaplan l _'_ `.5 rca
Linda P. Nussbaum ;:;`;-.j~ :> 2
Kaplan Fox & Kilsheimer L.L.P. 1';;;; U 1223
805 Third Avenue, 22nd Floor '§*`“ -L-T 3
New York, NY 10022 § §§ m

 

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 21 of 107

Tel: 212-687-1980
Attorneys for Isaac Industries, Inc.

Michael E. Criden

Kevin B. Love

Hanzman, Criden & Love, P.A.
7301 S.W. 57th Street, Suite 515
South Miarni, Florida 33143

Tel: 305-357-9000

Attorneys for Isaac Industries, Inc.

Lisa Rodriguez

Trujillo Rodriguez & Richards L.L.C.
8 Kings Highway West

Haddonfleld, New Jersey 08033

Tel: 856-795-9002

Attorneys for Isaac Industries, Inc.

Gary A. Winters

Mayer, Brown, Rowe, Maw LLP

1909 K Street N.W.

Washington, DC 20006

Tel: 202-263-3000

Attorneys for BNSF Railway Company

Reid L. Sahinoff

Sonnenschein Nath & Rosenthal LLP

1221 Avenue of the Americas

New York, NY 10020

Tel: 212-768-6700

Attorneys for Kansas City Southern Railway Company

John M. Nannes

Skadden, Arps, Slate, Meagher & Flom LLP

1440 New York Avenue N.W.

Washington, D.C. 20005

Tel: 202-371-7000

Attorneys for Norfolk Southern Railway Company

Kent A. Gardiner

Crowell & Moring LLP

1001 Pennsylvania Avenue, N.W.
Washington, DC 20004

Tel: 202-624-2578

Attorneys for CSX Transportation Inc.

 

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07

Alan M. Wisernan

Howrey LLP

1299 Pennsylvania Avenue, N.W.

Washington, DC 20004

Tel: 202-783-0800

Attorneys for Union Pacific Railroad Company

Carol V. Gilden

Cohen, Milstein, Hausfeld & Toll, P.L.L.C.
39 S LaSalle Street, Suite 1100

Chicago, Illinois 60603

Tel: 312-357-0370

Attorneys for Dad’s Products Company, Inc.

Michael D. Hausfeld

Benjamin D. Brown

Cohen, Milstein, Hausfeld & Toll, P.L.L.C.
1100 New York Avenue, N.W.

West Tower, Suite 500

Washington, DC 20005

Tel: 202-408-4600

Attorneys for Dad’s Products Company, Inc.

Steig D. Olson

Cohen, Milstein, Hausfeld & Toll, P.L.L.C.
150 East 52nd Street, Thirtieth Floor

New York, NY 10022

Tel: 212-838-7797

Attorneys for Dad’s Products Company, Inc.

Arthur N. Bailey

Arthur N. Bailey & Associates

111 West Second Street, Suite 4500
Jamestown, NY 14701

Tel: 716-664-2967

Attorneys for Dad’s Products Company, Inc.

Page 22 of 107

3. On'June 1, 2007, I am causing true and correct copies of

- Plaintiff Dust Pro, Inc.’s Motion For Transfer Of Related Actions For Coordinated or
Consolidated Pretrial Proceedings Pursuant To 28 U.S.C. § 1407

- Brief ln Support of Plaintiff Dust Pro, Inc.'s Motion For Transfer Of Related Actions For

Coordinated or Consolidated Pretrial Proceedings Pursuant To 28 U.S.C. § 1407

l - Exhibits Submitted With Brief In Support Of Plaintiff Dust Pro, Inc.’s Motion For
Transfer Of Related Actions For Coordinated or Consolidated Pretrial Proceedings

Pursuant To 28 U.S.C. § 1407

 

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 23 of 107

- Schedule of Actions

to be delivered for filing to the Clerk of the United States District Court for the District of New
Jersey and the Clerk of the United States District Court for the Northern District of Illinois.

Shahreen Mehj abeen

 

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 24 ofJ g7
olAL PA
MULTlDiSTmC'r i\.l!§l'a?\i‘\r]lom

JUN" “6 2007

F"lLED

BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

In Re

RAILROAD ANTITRUST LITIGATION
MDL Docket No.

\_/\/\./\./\'/\./

 

EXHIBITS SUBMITTED WlTH
BRIEF IN SUPPORT OF PLAINTIFF DUST PRO, INC.'S
MOTION FOR TRANSFER OF RELATED ACTIONS FOR COORDINATED OR
CONSOLIDATED PRETRIAL PROCEEDINGS PURSUANT TO 28 U.S.C. 5 1407

Stephen R. Neuwirth

James E. Cecchi
Quinn Emanuel Urquhart Oliver&

Carella, Byrne, Bain, Gili`illan,

Cecchi, Stewart & Olstein & Hedges, LLP
5 Becker Farm Road 51 Madison Avenue
Roseland, New Jersey 07068 New York, New York 10010

(973) 994-1700 (212) 849-7165
(212) 849-7100 (fax)

Attorneys For PlaintiffDust Pro, Inc.

l

03/\|`3038

an 1 ~.
gillile `~`.).»§:c_f;;é id

m
ca
_J
L_.
C:
Z

l

‘.`~}'

LpJ

 

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 25 of 107

IT|
><

2
C_T.
l-O'
J>

 

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 26 of 107
Case 2:07-cv-O2251-DMC-MF Document 1 Filed 05/14/2007 Page 1 of 27

James E. Cecchi Stephen Neuwirth
Lindsey H. Taylor QUINN EMANUEL URQUHART
CARELLA, BYRNE, BAIN, GILFILLAN, OLIVER & HEDGES, LLP
§§CCKHLFSTE\§AR(!T & OLSTEIN 51 Madison Avenue, 22nd Floor

ec er arm 03 N Y k,N Y k10010
Roseland, New Jersey 07068 (2€;\;:) 8:;;_71§5`] Or

(973) 994-1700

Paul Donovan

LAROE, WINN, MOERMAN &
DONOVAN

4135 Parkglen Court, N.W.
Washington, D.C. 20007

(202) 298-8100

Daniel Brockett

David Azar

QUINN EMANUEL URQUHART
OLIVER & HEDGES, LLP

865 S. Figueroa Street

Los Angeles, California 90017
(213) 443- 3000

Richard Scruggs

Sidney Backstrom
SCRUGGS LAW FIRM, P.A.
120A Courthouse Square
P.O. BoX 1136

Oxford, MS 38655

(662) 281 1212

Attorneys for Plaintiff

UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
DUST PRO, INC., on behalf of itself and all Civil Action No.
others similarly situated,
Plaintiff,

V` CLASS ACTIoN CoMPLAINT and
CSX TRANSPORTATION, INC., BNSF DEMAND FOR JURY TRIAL
RAILWAY coMPANY, UNIoN PACIFIC
RAILRoAD CoMPANY, NoRFoLK
soUTHERN RAILWAY CoMPANY, AND
KANsAs ciTY soUTHERN RAILWAY
CoMPANY,

Defendants.

 

 

 

 

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 27 of 107
Case 2:07-cv-02251-D|\/\C-|\/|F Document 1 Filed 05/14/2007 Page 2 of 27

Plaintiff Dust Pro, Inc. (“Dust Pro” or “Plaintiff”), an Arizona corporation located in
Phoenix, Arizona, individually and on behalf of a class of all those similarly situated, brings this
action for damages under the antitrust laws of the United States against Defendants, and alleges as
follows:

NATURE OF THE ACTION

1. This is an antitrust class action charging five United States based Class l railroads
with price fixing in violation of Section 1 of the Sherman Act. Plaintiff brings this action on behalf
of itself and an alleged class of direct purchasers who purchased unregulated rail freight
transportation services from Defendants and their co-conspirators from July 1, 2003 to the present
(the “Class Period,” which will also include the period from the date of this filing to the date of class
notice) and who were assessed a rail fuel surcharge for the agreed-upon transportation As used
herein, the term “unregulated” refers to rail freight transportation services where the rates are set by
private contracts or through other means exempt from rate regulation under federal law. Defendants
collectively control over 90 percent of the rail freight traffic in the United States.

2. Plaintiff alleges that during the Class Period, defendant railroads conspired to fix,
raise, maintain, or stabilize prices of rail freight transportation services sold in the United States
through use of rail fuel surcharges added to customers’ bills. A rail fuel surcharge (“Rail Fuel
Surcharge”) is a separately-identified fee that is charged by the railroads for the agreed-upon
transportation, purportedly to compensate for increases in the cost of fuel. Throughout the Class
Period, Defendants maintained uniformity of prices in Rail Fuel Surcharges by computing the
surcharges as a percentage of the rail freight transport base rate and by agreeing upon common
indices and trigger points for adjusting the percentages monthly. Defendants also published their
Rail Fuel Surcharges on their websites to facilitate coordination and the detection of any deviation

from collusive pricing.

 

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 28 of 107
Case 2:07-cv-02251-D|\/|C-1\/|F Document 1 Filed 05/14/2007 Page 3 of 27

3. As a direct and proximate result of this price fixing conspiracy, Defendants have
restrained competition in the market for unregulated rail freight transportation services and injured
plaintiff and each Class member in their business and property. Plaintiff and the members of the
Class each have paid a higher price for unregulated rail freight transportation than they would have
paid absent the concerted unlawful activity alleged herein.

4. Plaintiff seeks damages on behalf of itself and the Class for Rail Fuel Surcharges
imposed on rail freight shipments made under private transportation contracts and through other
means exempt from rate regulation under federal law. Plaintiff does not seek, on behalf of itself or
the Class, damages or relief arising from fuel surcharges imposed on rate-regulated freight
transportation

PARTlES

5. Plaintiff Dust Pro, Inc. is a corporation organized under the laws of the State of
Arizona, with its principal place of business at 3224 West Brown Street, Phoenix, Arizona7 85034.

6. During the class period, Dust Pro manufactured and distributed soil stabilizers.

7. Dust Pro purchased unregulated rail freight transportation directly from one or more
of the Defendants during the Class Period, and during the Class Period one or more of the
Defendants assessed Rail Fuel Surcharges on plaintiff in connection with that unregulated rail freight
transportation The prices plaintiff paid to Defendants for unregulated rail freight transportation
services on which Rail Fuel Surcharges were imposed were greater than the prices plaintiff would
have paid absent the conspiracy alleged herein. Plaintiff has therefore been injured in its business
and property by reason of Defendants’ antitrust violations Plaintiff asserts its claims on behalf of
itself and all direct purchasers of unregulated rail freight transportation services from one or more of

the Defendants, and as to which Defendants imposed Rail Fuel Surcharges, during the Class Period.

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 29 of 107
Case 2:07-cv-02251-D|\/|C-l\/|F Document 1 Filed 05/14/2007 Page 4 of 27

8. Defendant CSX Transportation, Inc. (“CSX”) has its principal place of business at
500 Water St., Jacksonville, Florida 32202. In New Jersey, CSX maintains business offices at 1
Pennsylvania Ave, Kearny, New Jersey 07032. CSX also operates and/or serves rail terminals in
the cities of Port Newark, Newark, Jersey City, Elizabeth, North Bergen, Kearny and Ridgefield,
through which it originates and terminates rail traffic within this District. CSX is a major freight
railroad operating primarily in the eastern United States and Canada. CSX links commercial markets
in 23 states, the District of Columbia, and certain Canadian provinces. CSX has railway lines
throughout the eastern United States.

9. Defendant Norfolk Southern Railway Company (“NS”) has its principal place of
business at Three Commercial Place, Norfolk, Virginia 23510. ln New Jersey, NS maintains
business offices at 125 County Road, Jersey City, New Jersey 07307. NS also operates and/or
serves rail terminals in the cities of Port Newark, Newark, Jersey City and Elizabeth through which
NS originates and terminates rail traffic within the District. NS is a maj or freight railroad operating
primarily in the eastern United States. NS serves all major eastern ports and connects with rail
partners in the West, linking customers to markets around the world.

10. Defendants CSX and NS jointly own Conrail, which acts as a switching carrier for
CSX and NS and operates almost 200 miles of rail lines in the northern half of New Jersey, The hub
of Conrail activities in the region is Oak lsland Yard in Newark, with smaller local serving yards in
Bayonne, Greenville (Jersey City), Linden, Manville, Metuchen, Old Bridge, Port Reading
(Woodbridge), Red Bank, and Newark,

1 l. Together, CSX and NS move all rail traffic into and out of the New Jersey/New York

area. The vast majority of that traffic originates or terminates within northern New Jersey, and in the

environs of Newark, For example, each year CSX and NS handle to and from the Newark area tens

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 30 of 107
Case 2107-cv-02251-DMC-MF Document 1 Filed 05/14/2007 Page 5 of 27

of thousands of carloads of various commodities, such as chemicals, and merchandise freight.
Additionally, with respect to container (or “intermodal”) traffic, in 2006 CSX and NS handled
339,000 containers at ExpressRail, the on-dock rail facilities in Newark, CSX and NS also handled
an additional 100,000 plus containers moving in domestic service through other rail terminals in the
Newark area.

12. Defendant BNSF Railway Company (“BNSF”) has its principal place of business at
2650 Lou Menk Drive, Fort Worth, Texas 76131. In New Jersey, BNSF’s wholly-owned
subsidiary, BNSF Logistics, LLC, maintains business offices at 375 N. Main Street, Suite C-l,
Williarnstown, New Jersey 08094. BNSF also originates and terminates rail traffic within the
District by providing transportation in interchange service with CSX and NS. BNSF is a wholly
owned subsidiary of the Burlington Northern Santa Fe Corporation, the holding company formed by
the September 22, 1995 merger of Burlington Northern and Santa Fe Corporation. BNSF is the
second largest railroad network in North America and operates 32,000 route miles of railroad.
BNSF has offices and rail lines throughout the western United States, extending into the
Southeastern states.

13. Defendant Union Pacific Railroad Company (“UP”) has its principal place of business
at 1400 Douglas Street, Omaha, Nebraska 68179. ln New Jersey, UP maintains at least one
employee or agent, though the business address is currently unknown. UP also originates and
terminates rail traffic within this District by providing transportation in interchange service with
CSX and NS. UP is the largest freight railroad in the United States. UP serves primarily the western

two-thirds of the United States and maintains coordinated schedules with other rail carriers to handle

freight to and from other parts of the country (including New Jersey).

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 31 of 107
Case 2:07-cv-02251-DMC-MF Document 1 Filed 05/14/2007 Page 6 of 27

14. Defendant Kansas City Southern Railway Company (“KCS”) has its principal place
of business at 427 W. 12th St., Kansas City, Missouri 64105. In New Jersey, KCS maintains
business offices at 1 Executive, Somerset, New Jersey 08873. lt also originates and terminates
traffic within this District by providing rail transportation in interchange service with CSX and NS.
KCS operates a maj or freight railroad in ten central and southeastern states.

JURISDICTION AND VENUE

15. This action is brought under Section 4 of the Clayton Act, 15 U.S.C. § 15 -, to recover
treble damages and reasonable attorneys fees from Defendants for the injuries sustained by Plaintiff
and members of the Class by reasons of Defendants’ violations of Section 1 of the Sherman Act, 15
U.S.C. § 1.

16. Jurisdiction ofthis Court is founded on 15 U.S.C. § 15 and 28 U.S.C. §§ 1331 and
1337.

17. Venue is proper in the District of New Jersey pursuant to 15 U.S.C. § 15(a) and 22
and 28 U.S.C. § 1391. Defendants maintain offices, have agents, transact business, and are found
within this judicial District; a substantial part of the events giving rise to the claim for relief occurred
in this District; and Defendants regularly and continuously conduct business in interstate commerce
that is carried out in part in this District.

18. This Court has personal jurisdiction over each Defendant because, inter alia, each:
(a) transacted business in this District; (b) directly or indirectly sold and delivered rail transportation
services in this District; (c) has substantial aggregate contacts with this District; and (d) engaged in

an illegal price-fixing conspiracy that was directed at, and had the intended effect of causing injury

to, persons and entities residing in, located in, or doing business in this District.

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 32 of 107
Case 2:07-Cv-02251-D|\/1C-MF Document 1 Filed 05/14/2007 Page 7 of 27

CLASS ACTION ALLEGATIONS
19. Plaintiff brings this action as a class action under Rules 23(a), (b)(2) and 23(b)(3) of

the Federal Rules of Civil Procedure, on behalf of itself and others similarly situated The “Class”
is defined as:

All purchasers of rail freight transportation services from Defendants
(the “Class”), through use of private railroad-shipper contracts or
through other means exempt from rate regulation under federal law,
as to which Defendants assessed a Rail Fuel Surcharge, at any time
from at least as early as July 2003 to the present (the “Class Period”).
Excluded from the Class are Defendants, any subsidiaries or affiliates
of Defendants, and any of Defendants’ co-conspirators, whether or
not named as a Defendant in this Complaint.

20. The Class is so numerous that joinder of all members is impracticable Given the
magnitude of the commerce involved, the members of the Class are geographically dispersed, and
joinder of all class members would be impracticable While the exact number of Class members is
unknown to.plaintiff at this time, plaintiff believes that there are, at a minimum, thousands of
members of the Class and that their identities can be readily ascertained from Defendants’ books and
records.

21 . Plaintiff s claims are typical of the claims of the other members of the Class. Plaintiff
and all members of the Class directly purchased unregulated rail freight transportation from
Defendants, with respect to which Defendants imposed the artificially inflated Rail Fuel Surcharges
established and maintained by the actions of Defendants in connection with the restraint of trade
alleged herein. Plaintiff and the members of the Class have all sustained damage in that they paid
inflated prices for the unregulated rail freight transportation services at issue as a result of
Defendants’ conduct in violation of federal law.

22, Plaintiff will fairly and adequately protect the interests of the members of the Class

and have retained counsel competent and experienced in class action and antitrust litigation.

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 33 of 107
Case 2:07-cv-02251-D|\/|C-MF Document 1 Filed 05/14/2007 Page 8 of 27

23. Common questions of law and fact exist as to all members of the Class which
predominate over any questions affecting solely individual members of the Class. Among the
questions of law and fact common to the Class are:

a. Whether Defendants conspired, contracted or combined with others, for the
purpose of and with the effect of raising, fixing, maintaining, pegging, or
stabilizing the price of Rail Fuel Surcharges applied to unregulated rail
freight transportation services purchased by the Class;

b. Whether Defendants undertook actions to conceal the unlawful conspiracies,
contracts or combinations described herein;

c. Whether Defendants’ conduct Violated the federal antitrust laws; and

d. Whether Defendants’ conduct caused injury to the business and property of
plaintiff and the Class and, if so, the proper measure of damages

24. A class action is superior to other available methods for the fair and efficient
adjudication of this controversy since joinder of all Class members is impracticable The
prosecution of separate actions by individual members of the Class would impose heavy burdens
upon the courts and Defendants, and would create a risk of inconsistent or varying adjudications of
the questions of law and fact common to the Class. A class action, on the other hand, would achieve
substantial economies of time, effort and expense and would assure uniformity of decision as to
persons similarly situated without sacrificing procedural fairness or bringing about other undesirable
results.

25. The interests of members of the Class in individually controlling the prosecution of

separate actions is theoretical rather than practical The Class has a strong and pervasive community

of interest, and prosecution of the action through representatives would be unobjectionable The

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 34 of 107
Case 2107-cv-02251-D|\/lC-MF Document 1 Filed 05/14/2007 Page 9 of 27

amounts at stake for Class members, while substantial in the aggregate, are not great enough
individually to enable them to maintain separate suits against Defendants. No difficulty is
anticipated in the management of this action as a class action

INTERSTATE TRADE AND COMMERCE

26. During the Class Period, Defendants accounted for over 90 percent of all rail
shipments within the United States. The US market for rail transportation services is estimated at
more than $51 billion in 2006.

27. The activities of Defendants and their co-conspirators Were within the flow of, and
substantially affected, interstate and international commerce. During the Class Period, Defendants
and their co-conspirators sold and carried out rail shipments in a continuous and uninterrupted flow
of interstate and foreign commerce to shippers and customers throughout the United States. Each
Defendant and their co-conspirators used instrumentalities of interstate or foreign commerce (or
both) to sell and market rail freight transportation services.

28. The unlawful activities of Defendants and the unnamed co-conspirators have had a
direct, substantial, and reasonably foreseeable effect on interstate and international commerce.

DEREGULATION OF THE RAILROAD INDUSTRY

29. Congress deregulated the railroad industry with passage of the Staggers Rail Act of
1980. This landmark legislation marked a dramatic change in the evolution of U.S. railroads After
decades of regulatory control over virtually every aspect of their economic operations, railroads were
free to set market rates for rail transportation

30. Prior to the Staggers Act, the Interstate Commerce Commission (“ICC”) prohibited
railroads from charging rates different from those contained in published tariffs filed by the railroads

with the ICC. Today, however, 80 percent or more of all rail shipments are exempt from rate

regulation or move under private transportation contracts, which are likewise free of rate regulation

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 35 of 107
Case 2:07-cv-02251-DI\/|C-l\/|F Document 1 Fi\ed 05/14/2007 Page 10 of 27

31 . Since 1980, the number of Class l railroads has declined dramatically, from 35 at the
time of passage of the Staggers Act to just seven today (two of Which are owned by Canadian
entities). Five of these railroads -- the Defendants in this case -- operate more than 90 percent of all
railroad track in the U.S. and account for more than $51 billion in total revenue.

32. Rail freight shippers across the nation are being subjected to an endless string of rate
increases by railroads made possible by a concentrated market structure, tight capacity, and
coordinated pricing. Although the reason for deregulation of the railroad industry was to promote
competition and lower freight rates, it is now clear that the opposite has come true ~ railroads are
collectively charging shippers supracompetitive rates.

33. The railroad industry today does not behave like a competitive market at all. lnstead,
it is dominated by the Defendants in this case. As one prominent railroad economist put it: “[R]ates
charged shippers are surging and bottom lines are growing as if on steroids.” Frank N. Wilner, A
Tal€ OfTWO (Railroad) StOrl'eS, 72 JOURNAL OF TRANSPORTATION LAW, LOGISTICS AND POLICY 235,
238(2005)

THE RAILROADS INTRODUCE FUEL SURCHARGES

34. By the early 2000 ’ s, the industry had consolidated to the point where further mergers
were unlikely if not impossible In response to the proposed Burlington Northern Santa Fe (BNSF)
and Canadian National Railway Co. (CN) merger, the Surface Transportation Board (“STB”), which
succeeded the ICC, put a moratorium on new mergers and then promulgated more stringent
standards for merger review. Railroads were experiencing surging freight demand and tight
capacity. In this environment, the railroads faced a stark choice: build new rail capacity to meet
growing demand, or squeeze more revenue out of shippers using existing capacity. The railroads
chose the latter course and seized on the rail fuel surcharge as the means to implement their price

fixing conspiracy.

10

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 36 of 107
Case 2207-cv-O2251-DMC-|\/1F Document 1 Filed 05/14/2007 Page 11 of 27

35. Since passage of the Staggers Act in 1980, railroads had increasingly entered into
transportation contracts with cost escalation provisions often tied to the “Rail Cost Adjustment
Factor” (“RCAF”). The RCAF was published by the Association of American Railroads (“AAR”),
the industry trade association, and included fuel prices as a component of the cost escalation In
fourth quarter 2002, the AAR -- which is controlled by the major Class l railroads -- published, for
the first time, a RCAF without fuel (i._e., a cost escalation index without fuel as a component). This
was not done by accident or mistake. It was a conscious decision made by the AAR to remove fuel
costs from the RCAF index so that Defendants, which controlled the AAR, could begin assessing
separate Rail Fuel Surcharges and coordinating that practice.

36. Predictably, that is what happened Following publication of the “RCAF index
without fuel,” Defendants seized the opportunity and began to apply a Rail Fuel Surcharge as a
separate item on the shipper’s bill. When the price of oil began to rise dramatically in late 2003 and
early 2004, Defendants began to see that they could use monthly changes to the fuel surcharge as an
easy way to dramatically increase their revenues without having to renegotiate individual contracts
or wait for new rail capacity to come on line to meet growing demand - so long as all the Defendants
participated and did not undercut each other.

DEFENDANTS’ PRICE FIXING CONSPIRACY

37. Commencing in or about July 2003 or earlier, Defendants agreed to stop competing
with one another with respect to prices they charged rail shippers and customers for carload
shipments. The key element of this price fixing conspiracy was an agreement by Defendants to act
in concert with one another in demanding the Rail Fuel Surcharges from rail shippers and customers
Pursuant to this conspiracy, Defendants all agreed to apply Rail Fuel Surcharges computed as a
percentage of the base rail freight rate (i.e. , revenue), rather than as a percentage of the actual cost of

fuel consumption associated with the individual movement to which the surcharge was applied

11

 

r.

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 37 of 107
Case 2:07-cv-02251-Dl\/1C-l\/|F Document 1 Filed 05/14/2007 Page 12 of 27

38. Such a “revenue-based” fuel surcharge bore no direct relationship to Defendants’
actual increase in fuel costs Defendants have acknowledged that their fuel surcharge program is not
a cost recovery mechanism, but a revenue enhancement measure intended to achieve across-the-
board increases in the prices charged by Defendants for unregulated rail freight transportation

39. Defendants implemented their agreement by exchanging information both in private
and by publicly announcing agreed-upon surcharge increases and posting the monthly fuel surcharge
percentages on their websites. They did so for purposes of monitoring and enforcing the agreed-
upon Rail Fuel Surcharge levels

40. As a result of Defendants’ concerted action, prices of Rail Fuel Surcharges charged to
rail shippers and customers (members of the Class) were raised to or maintained at supra-
competitive levels throughout the Class Period.

41. On January 25, 2007, the STB, Which regulates certain aspects of the railroad
industry, issued an administrative decision concluding that the railroads’ practice of computing Rail
Fuel Surcharges as a percentage of base rate for regulated rail freight transport was an "unreasonable
practice,” because the fuel surcharges are not tied to the fuel consumption associated with the
individual movements to which they are applied Rail Fuel Surcharges, STB Ex Parte No. 661 (J an
25, 2007).

42. The STB also found that the railroads had been “double dipping” - applying to the
same traffic both a fuel surcharge and a rate increase that is based on the RCAF or other index that
includes a fuel cost component The STB ordered Defendants to change these practices The STB’s
decision addressed rate regulated rail freight traffic only (which is not the subject of this Complaint).
The STB stated that its decision does not apply to rail freight traffic under contract or otherwise

exempted from rate regulation

12

 

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 38 of 107
Case 2:07-cv-02251-DMC-|\/|F Document 1 Fi\ed 05/14/2007 Page 13 of 27

43. Defendants applied the same unreasonable fuel surcharge practices to the private rail

freight transportation contracts, and other unregulated freight transport, at issue in this case.
ELEMENTS OF THE PRICE FIXING CONSPIRACY

44. The essential element of Defendants’ conspiracy was an agreement to compute Rail
Fuel Surcharges not as a cost recovery mechanism for the specific transportation to which it was
applied, but as a multiplier percentage of the base rate charged for the rail freight transportation
involved Defendants applied these surcharges not only to published tariff rates, but to private
contracts, and other traffic, not subject to rate regulation under federal law (i._e., the unregulated rates
at issue here).

45. Defendants began to implement their conspiracy at least as early as June 2003 when
the two western railroads, BNSF and UP (the “Western Railroads”), agreed to coordinate their prices
relative to Rail Fuel Surcharges. Prior to this time, the UP carload fuel surcharge was adjusted
monthly based on the West Texas lntermediate (“WTI”) Crude Oil lndex. The BNSF carload fuel
surcharge was based on the US Department of Energy (DOE) On-Highway Diesel Fuel Price Index
(“HDF”). ln or about June 2003, however, the UP switched to the HDF Index pursuant to an
agreement with the BNSF. From that point on, the Western Railroads moved in lockstep and
charged the exact same Rail Fuel Surcharge percentage for each month of the class period

46. The Western Railroads agreed to administer the HDF index in precisely the same
way. Whenever the U.S. average price of diesel fuel as measured by the HDF Index equaled or was
lower than $1.35 per gallon, no surcharge was applied When the HDF Index exceeded $l .35 per
gallon, however, the Western Railroads both applied a surcharge of 0.5 percent for every five cent

increase above $l.35 per gallon So, for example, if the HDF Index rose to $1.55 per gallon, the

13

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 39 of 107
Case 2:07-cv-02251-DMC-|\/|F Document 1 Filed 05/14/2007 Page 14 of 27

Western Railroads would apply a surcharge of 2 percent. The surcharge would increase 2 percent
for every 20 cents increase in the HDF lndex.

47. The Western Railroads also coordinated when they would change their fuel
surcharge They agreed that the Fuel Surcharge would be applied to shipments beginning the second
month after the month in which there was a change in the HDF average price calculation So, for
example, if the HDF Index average price changed in January, the Western Railroads would
announce their new Rail Fuel Surcharge percentage on February 1 (always on the first day of the
month), and then apply the surcharge to shipments in March. The Western Railroads published their
monthly fuel surcharge percentages on their websites, making any deviation from cartel pricing
easily detectable

48. The choice to use the HDF Index for fuel surcharges was arbitrary. Also arbitrary
was the decision to set the trigger point at $1.35 per gallon and to apply the surcharge in the second
calendar month after the HDF average price had changed The fact that the Western Railroads both
chose and adhered to this same combination of features for their Rail Fuel Surcharge programs
indicates that they coordinated their behavior The similarities are both too precise and too
comprehensive to have been arrived at independently

49. Using the HDF index, the two Western Railroads moved in lockstep and charged
virtually identical Rail Fuel Surcharges on a monthly basis throughout the Class Period.

50. The chart below shows that the Fuel Surcharge Percentages charged by the Western
Railroads for carload shipments varied before the class period began, but were identical starting in
July 2003:

MONTHLY SURCHARGE PERCENTAGES -- WESTERN RAILROADS

 

 

 

 

 

 

MONTH BNSF UP
Jun-02 1 0
Ju1-02 1 0

 

 

14

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 40 of 107
Case 2:07-cv-02251-DMC-|\/|F Document 1 Filed 05/14/2007 Page 16 of 27

 

15

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 41 of 107
Case 2:07-cv-02251-D|\/|C-l\/|F Document 1 Filed 05/14/2007 Page 16 of 27

 

51. Defendants CSX and NS, located in the east, began to implement the conspiracy in
February 2004 or earlier, and KCS, located in the Midwest, agreed to join the conspiracy in June
2005 or earlier, (Defendants CSX, NS and KCS collectively are the “Eastern Railroads”). The
Eastern Railroads all agreed to base their fuel surcharge programs on the average monthly price of
West Texas lntermediate (“WTI”) Crude Oil as published in the Wall Street Journal. Indeed, not
only did these railroads all agree to use the WTI index (as opposed to many other available indices);
once they had joined the conspiracy, they too agreed to administer the index in precisely the same
way.

52. Specifically, after an initial period in which their selected WTI trigger price differed,
the Eastern Railroads agreed to apply a fuel surcharge Whenever the monthly average WTI price
exceeded 823 per barrel. When that happened, Defendants’ rates were increased 0.4 percent for
every 81 dollar that the price of WTI oil exceeded 823 per barrel. So, for example, if the price of
WTI oil was 828 per barrel, the fuel surcharge percentage would be 2 percent. The Rail Fuel
Surcharge would be adjusted upward at 2 percent for every 85 increase in the WTI average price

53. The Eastern Railroads also coordinated when they would change their fuel surcharge
- two calendar months after the WTI index had adjusted, thereby adopting fuel surcharge price
timing used by the Western Railroads For example, if the WTI average price exceeded 823 per

barrel in January, the Eastern Railroads would assess the applicable fuel surcharge percentage to all

bills of lading dated in the month of March. ln this Way, Defendants could apply exactly the same

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 42 of 107
Case 2:07-cv-02251-D|\/|C-|\/1F Document 1 Filed 05/14/2007 Page 17 of 27

fuel surcharge percentage month after month. The Eastern Railroads published their monthly fuel
surcharge percentages on their websites, making any deviation from cartel pricing easily detectable

54. The choice to use the WTI index for fuel surcharges was arbitrary. Also arbitrary was
the decision to set the trigger point at 823 per barrel and to apply the surcharge in the second
calendar month after the average price of WTI oil had changed The fact that Defendants CSX, NS,
and KCS all chose and adhered to this same combination of features for their Rail Fuel Surcharge
programs indicates that they coordinated their behavior. The similarities are too precise and too
comprehensive to have been arrived at independently

55. The net result is that there was uniformity among the Eastern Railroads in the
monthly surcharge percentages they charged customers for most of the Class Period. Although KCS
used different fuel surcharge percentages for certain months of the Class Period, in June 2005 it
adopted the same fuel surcharge percentage used by CSX and NS and moved in lock step with them
for the remainder of the Class Period. KCS has different operations and fuel consumption patterns
from the larger US railroads, making it unlikely that the KCS would adopt the same fuel surcharge
percentages as the other railroads absent a conspiracy.

56. The chart below shows that the Fuel Surcharge Percentages charged by Defendants
CSX and NS for carload shipments varied before the class period, but were identical starting in
February 2004, and they also were identical to those of the KCS starting in June 2005, when the
KCS joined the conspiracy: l

MONTHLY SURCHARGE PERCENTAGES -- EASTERN RAILROADS

 

17

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 43 of 107

 

. CaSe 2:07-Cv-02251-D|\/|C-N|F Document 1 Filed 05/14/2007 Page 18 of 27

0

0

0

0

0

.

0

. 57. In stark contrast to this uniformity in fuel surcharge percentages fuel cost as a
percentage of operating cost and fuel efficiency differs widely among the Defendant railroads
Absent collusion, it is extremely unlikely that Defendants, in both the east and the west, Would

. independently price their Rail Fuel Surcharges to arrive at the identical percentage month after

18

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 44 of 107
Case 2:07-cv-02251-DMC-l\/|F Document 1 Filed 05/14/2007 Page 19 of 27

month, year after year, for a period of more than three years The fact that Defendants have moved
in uniform lockstep for a period of nearly 38 months indicates that Defendants were coordinating
their behavior and conspired to fix prices for Rail Fuel Surcharges. In a competitive environment,
free of collusion, carriers with lower fuel costs would impose a lower surcharge to obtain a
competitive advantage

ADDITIONAL EVIDENCE OF A CONSPIRACY

58. Apart from this direct evidence of price fixing, “plus factors” further support the
allegation that Defendants agreed to fix prices for Rail Fuel Surcharges. The rail transportation
industry is marked by certain structural and other characteristics that make a price fixing cartel
feasible:

a. The railroad industry is highly concentrated Defendants in this case are the

_fiy_e remaining domestic Class l railroads following decades of mergers and consolidation

Defendants account for well over 90 percent of the nation’s rail traffic. Such high

concentration facilitates the possibility of a price fixing cartel.

b. There are significant barriers to entry into the railroad industry. To compete,
railroads must invest in a vast network of tracks, stations, yards, and switching facilities

These take decades to develop, and require onerous regulatory and environmental reviews

and approval. Land or easements are often needed, necessitating the involvement of multiple

local governments and the exercise of eminent domain power. Because rail infrastructure is
of minimal value for other purposes, and rail networks are difficult to assemble, the fixed
costs are largely sunk, creating significant entry barriers Entry also requires that a new
entrant capture a significant market share from existing carriers Entry is thus both

expensive and risky.

19

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 45 of 107
Case 2:07-cv-02251-D|\/|C-MF Document 1 Filed 05/14/2007 Page 20 of 27

c. Rail Fuel Surcharges, when computed as a percentage of revenue, are highly
standardized Defendants structured their Rail Fuel Surcharges as a percentage of base rates
and then published the percentages on their websites so the colluding railroads could police

. the conspiracy without frequent communications lt is well recognized that markets having
uniform and homogeneous products or services are susceptible to price fixing.

d. The railroad industry has a history of price fixing and other anti-competitive

. behavior. In the first antitrust case dealing with the railroad industry, United States v. Trans-
Missouri Freight Ass ’n, 166 U.S. 290 (1897), the railroad cartel argued that it must price fix
or the industry would go bankrupt Prior to deregulation railroads engaged in open price
fixing through establishment of “rate bureaus” and “rate making committees.” Although
these bodies have disappeared from the rail industry in the wake of the Staggers Act, the
railroad industry has continued to engage in market manipulation, unreasonable rate
practices, and other discriminatory practices against a wide spectrum of freight customers
e. The CEO’s of Defendants are all board members of the AAR, which
facilitates transfer of pricing information The AAR describes itself as “the central
coordinating and research agency of the North American rail industry.” Full membership,
however, is available only to the seven Class l railroads operating in the United States, the
. five most significant of which are Defendants here (the other two Class I railroads are owned
by Canadian companies).l The AAR Board meets regularly and board members (and their

staff) regularly communicate between meetings

 

l A Class l railroad is one having revenues in excess of 8250 million in 1991 dollars (8319.3

million in 2005 dollars). There are currently seven Class l railroads operating in the United States:

(l) BNSF; (2) CSX; (3) Grand Tmnk Corporation; (4) KCS; (5) NS; (6) Soo Line Railroad Co.; and

(7) UP. The Soo Line Railroad is owned by Canadian Pacific Railway. The Grand Trunk
. Corporation is owned by the Canadian National Railway.

20

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 46 of 107
Case 2:07-cv-02251-Dl\/|C-l\/|F Document 1 Filed 05/14/2007 Page 21 of 27

59. Apart from these structural market features Defendants did not behave as if they
were in a competitive market. Shippers from many different industries some with significant
economic power, tried to negotiate the fuel surcharge percentages but were told by the Defendants
that the Rail Fuel Surcharges were “not negotiable.”

60. Several national shipper organizations in fact met with each of the Defendants to
encourage them to reexamine the methods used to assess Rail Fuel Surcharges Among the
Defendants only the BNSF agreed to make responsive changes to its surcharge program, and that
was only for grain and coal shipments corning from certain regions where the BNSF is the only
carrier. The other Defendants refused to address the concerns of their customers

61. At or about the time Defendants agreed to fix the Rail Fuel Surcharge prices they
largely switched from offering long-term contracts to offering contracts that were “re-priced” in new
negotiations semi-annually, quarterly or monthly. Previously, Defendants had allowed, and often
preferred, long term contracts ranging up to five years with clauses that did not permit rate increases
beyond a certain po int or that excluded fuel surcharges altogether

62. Defendants made this switch even though most shippers preferred the former system
in order to minimize risk. In a competitive environment, forcing customers to assume greater risks
without any offsetting benefit (such as lower prices) would cause customers to seek alternatives
Which should promote competition between carriers for their business Here, all Defendants raised
prices and did not offer any compensation to customers for assuming additional risk. This behavior
gives rise to an inference of price fixing.

63. Defendants sometimes stopped offering “through rates” in which a shipper would
receive a single bill from either the originating shipper or the termination railroad and a single fee

would be allocated among the railroads that shipped Instead, Defendants moved to what is known

21

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 47 of 107
Case 2:07-cv-02251-DMC-MF Document 1 Filed 05/14/2007 Page 22 of 27

in the industry as “Rule 11 pricing.” Under Rule 11 pricing, where a shipment requires movement
on more than one carrier, the two rates are stated separately rather than as one quote for the entire
shipment Defendants made this change as part of their conspiracy for two reasons: to provide
transparency as to what each railroad was charging on multiple line shipments and to allow each
railroad to apply the agreed-upon Rail Fuel Surcharge in its own territory.

64. Finally, demand for rail freight transportation services grew substantially during the
period of the conspiracy, and yet Defendants’ market shares remained relatively stable and constant.
The fact that market shares did not did not fluctuate significantly during the Class Period is further
indication that Defendants agreed to price fix rather than to compete for new sales

DEFENDANTS PROFITED FROM THE SURCHARGES

65. Because fuel surcharges are generally designed to compensate for increases in fuel
costs they should bear a relatively constant relationship to the actual cost of fuel associated with the
individual movements to which they are applied But since the beginning of the Class Period and
before, Defendants have used the Rail Fuel Surcharge not as a cost recovery mechanism, but as a
revenue enhancement measure By computing the Rail Fuel Surcharge as a percentage of the base
rate charged the shipper, Defendants ensured that there would be no real correlation between the rate
increase and the increase in fuel costs for the particular shipment to which the surcharge is applied

66. Thus the ratio of Defendants’ profits to their actual fuel costs was high as a result of
the concerted implementation and maintenance of the agreed-upon Rail Fuel Surcharge Through
these Rail Fuel Surcharges Defendants realized billions of dollars in revenues during the Class

Period in excess of their actual increase in fuel costs from the specific customers on whom they

imposed the surcharge

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 48 of 107
Case 2:07-cv-02251-Dl\/|C-|\/|F Document 1 Filed 05/14/2007 Page 23 of 27

ANTITRUST INJURY TO PLAINTIFF AND THE CLASS

67. The unlawful conduct, combination or conspiracy alleged herein had and is having
the following effects among others:

a. The Rail Fuel Surcharges charged to plaintiff and the Class for unregulated
rail freight transportation have been fixed or stabilized at supra-competitive
levels;

b. Plaintiff and the Class have been deprived of the benefits of free, open and
unrestricted competition in the market for unregulated rail freight
transportation; and

c. competition in establishing the prices paid in the United States for
unregulated rail freight transportation has been unlawfully restrained,
suppressed and eliminated

68. By reason of the violations of Section l of the Sherman Act and Section 4 of the
Clayton Act, plaintiff and the members of the Class have sustained injury to their business or
property. The injury sustained by the plaintiff and the Class is the payment of supracompetitive
prices for Rail Fuel Surcharges applied to unregulated rail freight transportation as a result of
Defendants’ illegal contract, combination, and conspiracy to restrain trade as alleged This is an
antitrust injury of the type that the federal laws were meant to punish and prevent.

COUNT I

(Violation Of § 1 Of The Sherman
Act And § 4 Of The Clayton Act)

69. Plaintiff incorporates by reference the allegations in the above paragraphs as if they

Were fully set forth herein

23

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 49 of 107
Case 2:07-cv-02251-DMC-MF Document 1 Filed 05/14/2007 Page 24 of 27

70. Defendants entered into and engaged in a contract, combination or conspiracy in
unreasonable restraint of trade in violation of Section l of the Sherman Act and Section 4 of the
Clayton Act.

71. The contract, combination or conspiracy resulted in an agreement, understanding or
concerted action between and among Defendants in furtherance of which Defendants fixed,
maintained and standardized prices for Rail Fuel Surcharges for rail freight transportation handled
through private contracts and other means exempt from regulation Such contract, combination, or
conspiracy constitutes a per se violation of the federal antitrust laws and is, in any event, an
unreasonable and unlawful restraint of trade

72. Defendants’ contract, combination agreement, understanding or concerted action
occurred within the flow of, and substantially affected, interstate and international commerce
Defendants’ unlawful conduct was through mutual understandings or agreements by, between and
among Defendants

73. The contract, combination or conspiracy has had the following effects:

a. Prices charged to plaintiff and the Class for Rail Fuel Surcharges applied to
unregulated rail freight transportation were fixed and/ or maintained at Supra-
competitive levels

b. Plaintiff and the Class have been deprived of the benefits of free, open and
unrestricted competition in the market for rail freight transportation services;
and

c. competition in establishing the prices paid, customers of, and territories for
rail freight transportation services has been unlawfully restrained, suppressed

and eliminated

24

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 50 of 107

Case 2:07-cv-02251-D|\/|C-MF Document 1 Filed 05/14/2007 Page 25 of 27

74.

As a proximate result of Defendants’ unlawful conduct, plaintiff and the Class have

suffered injury in that they have paid supracompetitive prices for Rail Fuel Surcharges applied to

unregulated rail freight transportation services during the Class Period.

WHEREFORE, Plaintiff prays for relief as follows:

(1)

(2)

(3)

(4)

(5)
(6)

(7)

That the Court determine that this action may be maintained as a class action under
Rules 23(b)(2) and (b)(3) of the F ederal Rules of Civil Procedure, that plaintiff be
denominated as class representative and that plaintiffs counsel be appointed as
counsel for the Class;

That the unlawful contract, combination and conspiracy alleged in Count l be
adjudged and decreed to be an unreasonable restraint of trade or commerce in
violation of Section 1 of the Sherman Act;

That plaintiff and the Class recover compensatory damages as provided by law,
determined to have been sustained as to each of them, and that judgment be entered
against Defendants on behalf of plaintiff and each and every member of the Class;

That each of the Defendants’ respective officers directors agents and employees
and all other persons acting on behalf of or in concert with them, be permanently
enjoined and restrained from, directly or indirectly, continuing or maintaining the
combination conspiracy, or agreement alleged in this case;

That plaintiff and the Class recover treble damages as provided by law;

That plaintiff and the Class recover their costs of the suit, including attorney’s fees
as provided by law; and

For such further relief as the Court may deem just and proper.

CARELLA, BYRNE, BAIN, GILFILLAN,
CECCHI, STEWART & OLSTEIN
Attorneys for Plaintiff

By: /s/ James E. Cecchi
JAMES E. CECCHI

Dated: May 14, 2007

Stephen Neuwirth

Quinn Emanuel Urquhart Oliver
& Hedges, LLP

51 Madison Avenue, 22nd Floor

New York, New York 10010

(212) 849-7100

25

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 51 of 107

Case 2:07-cv-02251-DMC-|\/\F Document 1

Daniel Brockett

David Azar

Quinn Emanuel Urquhart Oliver
& Hedges, LLP

865 S. Figueroa Street

Los Angeles California 90017

(213) 443- 3000

Paul Donovan

LaRoe, Winn, Moerman & Donovan
4135 Parkglen Court, N.W.
Washington, D.C. 20007

(202) 298-8100

Richard Scruggs

Sidney Backstrom
Scruggs Law Firm, P.A.
120A Courthouse Square
P.O. Box 1136

Oxford, MS 38655

(662) 281 1212

Attorneys for Plaintiffs

26

Filed 05/14/2007

Page 26 of 27

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 52 of 107
Case 2:07-cv-02251-DMC-MF Document 1 Filed 05/14/2007 Page 27 of 27

DEMAND FOR JURY TRIAL

Pursuant to Rule 38(a) of the Federal Rules of Civil Procedure, plaintiff demands a jury

trial as to all issues triable by a jury.

CARELLA, BYRNE, BAIN, GILFILLAN,
CECCHI, STEWART & OLSTEIN
Attorneys for Plaintiff

By: /s/ James E. Cecchi
JAMES E. CECCHI

Dated: May 14, 2007

CERTIFICATION
Counsel for Plaintiff hereby certifies that, to the best of their knowledge there are no other
civil actions or arbitration proceedings pending regarding the subject matter hereof and that none are
contemplated, and that all parties who should be joined have been joined
CARELLA, BYRNE, BAIN, GILFILLAN,

CECCHI, STEWART & OLSTEIN
Attorneys for Plaintiff

By: /s/ James E. Cecchi
JAMES E. CECCHI

Dated: May 14, 2007

27

 

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 53 of 107

8 llq!LlXE|

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 54 of 107

Lisa J. Rodriguez

TRUJILLO, RODRIGUEZ & RICHARDS L.L.C
8 Kings Highway West

Haddonfield, New Jersey 08033

Telephone: (856) 795-9002

Fax: (856) 795-9887

E mail: lisa(a}trrlaw.com

Attomeys for Plaintiff]saac Industries, Inc.
Additional Counsel on Signature Page

UNITED STATES DISTRICT COURT
DISTRICT ()F NEW JERSEY

 

ISSAC INDUSTRIES, INC., on behalf of
itself and all others similarly situated,

Plaintiff,
Civil Action No.
v.

CSX TRANSPORATION, INC.; BNSF
RAILWAY COMPANY; UNION PACIFIC CLASS ACTION COMPLAINT
RAILROAD COMPANY; NORFOLK

SOUTHERN RAILWAY COMPANY; and
KANSAS CITY SOUTHERN RAILWAY DEMAND FOR JURY TRIAL
COMPANY,

 

Defendants

 

Plaintiff Isaac Industries, lnc. (“lsaac” or “Plaintiff’), a Florida corporation located in
Miami, Florida, individually and on behalf of all others similarly situated, brings this class action
for damages under the antitrust laws of the United States against Defendants CSX
Transportation, Inc. (“CSX”), BNSF Railway Company (“BNSF”), Union Pacific Railroad
Company (“UP”), Norfolk Southern Railway Company (“NS”), and Kansas City Southern

Railway Company (“KCS”) and alleges as follows:

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 55 of 107

NATURE OF THE ACTION

1. This is an antitrust class action charging five United States-based Class Il
railroads with price fixing in violation of Section 1 of the Sherman Act. Plaintiff brings this
action on behalf of itself and a proposed class of direct purchasers who during the Class Period
(i) purchased unregulated rail freight transportation services from Defendants and their co-
conspirators and (ii) were assessed a rail surcharge for the agreed-upon transportatioii.2
Defendants collectively control over 90 percent of the rail freight traffic in the United States.

2. Plaintiff alleges that during the Class Period, Defendants conspired to fix, raise
maintain or stabilize prices of rail freight transportation services sold in the United States
through use of rail fuel surcharges added to customers’ bills Throughout the Class Period,
Defendants maintained uniform prices in rail fuel surcharges by computing the surcharges as a
percentage of the rail freight transport base rate and by agreeing upon common indices and
trigger points for adjusting the percentages monthly. Defendants also published their rail fuel
surcharges on their websites to facilitate coordination and the detection of any deviation from
collusive pricing.

3. As a direct and proximate result of this price fixing conspiracy, Defendants have

restrained competition in the market for unregulated rail freight transportation services and

injured Plaintiff and each Class member in their business and property. Plaintiff and the

 

l A Class l railroad is a railroad company having revenues in excess of 8250 million in 1991
dollars (8319.3 million in 2005 dollars). There are currently seven Class 1 railroads operating in
the United States: (l) BNSF; (2) CSX; (3) Grand Trunk Corporation; (4) KCS; (5) NS; (6) S00
Line Railroad Co.; and (7) UP. The Soo Line Railroad is owned by Canadian Pacific Railway.
The Grand Trunk Corporation is owned by the Canadian National Railway.

2 “Class Period” refers to the period from July 1, 2003 to the present which includes the period
from the date of the filing of this complaint to the date of class notice

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 56 of 107

members of the Class have paid higher prices for unregulated rail freight transportation than they
would have paid absent the concerted unlawful activity alleged herein

4. Plaintiff seeks damages on behalf of itself and the Class for rail fuel surcharges
imposed on rail freight shipments made under private transportation contracts and through other
means exempt from rate regulation under federal law. Plaintiff does not seek, on behalf of itself
or the Class damages or relief from fuel surcharges imposed on rate-regulated freight
transportation

DEFINITIONS

5. As used herein the term:

a. “Unregulated rail freight transportation services” means rail freight
transportation services where the rates are set by private contracts or through other means
exempt from rate regulation under federal law;

b. “Rail Fuel Surcharge” is a separately-identified fee that is charged by the
railroads for the agreed-upon transportation purportedly to compensate for increases in the cost
of fuel;

c. “Person” means any individual, partnership, corporation association or
other business or legal entity; and

d. “Class Period” refers to the period from July 1, 2003 to the present which
includes the period from the date of the filing of this complaint to the date of class notice

PLAINTIFF
6. Plaintiff Isaac Industries Inc. is a Florida corporation with its principal place of

business located at 7330 N.W. 36th Avenue Miami, Florida 33147. During the Class Period,

Isaac purchased rail freight transportation services at unregulated rates directly from one or more

 

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 57 of- 107 -

of the Defendants and was assessed and paid Rail Fuel Surcharges in connection with the
unregulated rail freight transportation

7 . The prices Isaac paid to Defendants for unregulated rail freight transportation
services on which Rail Fuel Surcharges were imposed were greater than the prices Isaac would
have paid absent the conspiracy alleged herein Isaac has therefore been injured in its business
and property by reason of the Defendants’ antitrust violations Isaac asserts its claims on behalf
of itself and all direct purchasers who, during the Class Period, purchased from one or more of
the defendants unregulated rail freight transportation services which resulted in an imposition of
Rail Puel Charges.

DEFENnANTs

8. Defendant CSX Transportation, Inc. has its principal place of business at 500
Water St., Jacksonville, Florida 32202. ln New Jersey, CSX maintains business offices at 1
Pennsylvania Ave, Kearny, New Jersey 07032. CSX also operates and/or serves rail terminals in
the cities of Port Newark, Newark, Jersey City, Elizabeth, North Bergen, Kearny and Ridgefield,
through which it originates and terminates rail traffic within this District. CSX is a major freight
railroad operating primarily in the eastern United States and Canada. CSX links its commercial
markets in 23 states the District of Columbia, and certain Canadian provinces. CSX has railway
lines throughout the eastern United States

9. Defendant Norfolk Southern Railway Company has its principal place of business
at Three Commercial Place, Norfolk, Virginia 23510. ln New Jersey, NS maintains business
offices at 125 Country Road, Jersey City 07307. NS operates and/or serves rail terminals in the

cities of Port Newark, Newark, Jersey City and Elizabeth through which NS originates and

terminates rail traffic within the District. NS is a major freight railroad operating primarily in the

 

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 58 of 107

eastern United States NS serves all major eastern ports and connects with rail partners in the
West, linking customers to markets around the world

10. Defendants CSX and NS jointly own Conrail, which acts as a switching carrier for
CSX and NS and operates almost 200 miles of rail lines in the northern half of New lersey. The
hub of Conrail activities in the region are located in Oak lsland Yard in Newark, with smaller
local serving yards in Bayonne, Greenvillc (Jersey City), Linden, Manville, Metuchen, Old
Bridge, Port Reading (Woodbridge), Red Bank, and Newark.

11. Together CSX and NS move all rail traffic into and out of the New Jersey/New
York area. The vast majority of that traffic originates or terminates within northern New Jersey,
and in the environs of Newark. For example each year CSX and NS handle to and from the
Newark area, tens of thousands of carloads of various commodities such as chemicals and
merchandise freight Additionally, in 2006, with respect to container (or “intermoda ”) traffic,
CSX and NS handled 339,000 containers at ExpressRail, the on-dock rail facilities in Newark.
CSX and NS also handled an additional 100,000 plus containers moving in domestic service
through other rail terminals in the Newark area. l

12. Defendant BNSF Railway Company has its principal place of business at 2650
Lou Menk Drive, Fort Worth, Texas 76131. In New Jersey, BNSF’s wholly-owned subsidiary,
BNSF Logistics, LLC, maintains business offices at 375 N. Main Street, Suite C-l,
Williamstown, New Jersey 08094. BNSF also originates and terminates rail traffic within the
District by providing transportation in interchange service with CSX and NS. BNSF is a wholly
owned subsidiary of the Burlington Northern Santa Fe Corporation, the holding company formed

by the September 22, 1995 merger of Burlington Northern and Santa Fe Corporation. BNSF is

the second largest railroad network in North America and operates 32,000 route miles of

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 59 of 107

railroad BNSF has offices and rail lines throughout the western United States extending into
the Southeastern states

13. Defendant Union Pacific Company has its principal place of business at 1400
Douglas Street, Omaha, Nebraska 68179. In New Jersey, UP maintains at least one employee or
agent, though the business address is currently unknown UP also originates and terminates rail
traffic within this District by providing transportation in interchange service with CSX and NS.
UP is the largest freight railroad in the United States UP serves primarily the western two-thirds
of the United States and maintains coordinated schedules with other rail carriers to handle freight
to and from other parts of the country (including New Jerscy).

14. Defendant Kansas City Southern Railway Company has its principal place of
business at 427 W. 12th St., Kansas City, Missouri 64105. ln New Jersey, KCS maintains
business offices at 1 Executive, Somerset, New Jersey 08873. lt also originates and terminates
traffic within this District by providing rail transportation in interchange service with CSX and
NS. KCS operates a maj or freight railroad in the central and southeastern states

JURISDICTION AND VENUE

15. This action is brought under Section 4 of the Clayton Act, 15 U.S.C. §15, to
recover damages as allowed by law, costs of suit and a reasonable attorneys' fee for defendants’
violation of Section 1 of the Sherman Act, 15 U.S.C. §1.

16. The Court has jurisdiction over the subject matter of this action pursuant to
Section 4(a) ofthe Clayton Act, 15 U.S.C. §1337(a), and 28 U.S.C. §§ 1331 and 1337.

17. Venue is proper in the District of New Jersey pursuant to 15 U.S.C. § 15(a) and
22, and 28 U.S.C. §1391. Defendants maintain offices have agents transact business and are

found within this judicial District; a substantial part of the events giving rise to the claim for

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 60 of 107

relief occurred in this District; and Defendants regularly and continuously conduct business in
interstate commerce that is carried out in part in this District.

18. This Court has personal jurisdiction over each Defendant because inter alia, each
Defendant: (a) transacted business in this District; (b) directly or indirectly sold and delivered
unregulated rail freight transportation services in this District; (c) has substantial aggregate
contacts with this District; and (d) engaged in an illegal price-fixing conspiracy that was directed
at, and had the intended effect of causing injury to, persons and entities residing in, located in or
doing business in this District.

CLASS ACTION ALLEGATIONS
19. Plaintiff brings this action as a class action under Rule 23 of the Federal Rules of
Civil Procedure, on behalf of itself and others similarly situated The “Class” is defined as:
All purchasers of rail freight transportation services from
Defendants, through use of private railroad-shipper contracts or
through other means exempt from rate regulation under federal
law, as to which Defendants assessed a Rail Fuel Surcharge at any
time from at least as early as July 2003 to the present (the “Class
Period”). Excluded from the Class are Defendants any
subsidiaries or affiliates of Defendants and any of the Defendants’

co-conspirators, whether or not named as a Defendant in this
Complaint

20. The Class is so numerous that joinder of all members is impracticable Given the
magnitude of the commerce involved, the members of the Class are geographically dispersed,
and joinder of all class members would be impracticable While the exact number of Class
members is unknown to plaintiff at this time, plaintiff believes that there are, at minimum,
thousands of members of the Class and that their identities can be readily ascertained from

Defendants’ books and records

 

Case |\/|DL No. 1869 Document 1 v Filed 06/06/07 Page 61 of 107

21 , Plaintiff s claims are typical of the claims of other members of the Class.
Plaintiff and all members of the Class directly purchased unregulated rail freight transportation
from Defendants with respect to which Defendants imposed the artificially inflated Rail Fuel
Surcharges established and maintained by the actions of the Defendants in connection with the
restraint of trade alleged herein Plaintiff and the members of the Class have all sustained
damage in that they paid inflated prices for the unregulated rail freight transportation services at
issue as a result of Defendants’ conduct in violation of federal law. Plaintiff is a direct purchaser
of unregulated rail freight transportation from Defendants and its interest is coincident with, and
not antagonistic to, those of the other members of the Class

22. Plaintiff will fairly and adequately protect the interests of the members of the
Class and has retained counsel competent and experienced in class action and antitrust litigation

23. Common questions of law and fact exist as to all members of the Class which
predominate over any questions affecting solely individual members of the Class. Among the
questions of law and fact common to the Class are:

a. Whether Defendants conspired, contracted or combined with others for
the purpose of, and with the effect of, raising, fixing, maintaining, pegging, or stabilizing the
price of Rail Fuel Surcharges applied to unregulated rail freight transportation services purchased
by the Class;

b. Whether Defendants undertook actions to conceal the unlawful conspiracies
contracts or combinations described herein;
c.` The duration of the conspiracy alleged in this Complaint and the nature and

character of the acts performed by Defendants and their co-conspirators in furtherance of the

conspiraey;

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 62 of 107

d. Whether Defendants’ conduct violated the federal antitrust laws and j
1 e. Whether Defendants’ conduct caused injury to the business and property of ‘

plaintiff and the Class and, if so, the proper measure of damages

24. A class action is superior to other available methods for the fair and eHicient
adjudication of this controversy, since joinder of all Class members is impracticable The
prosecution of separate actions by individual members of the Class would impose heavy burdens
upon the courts and Defendants and would create a risk of inconsistent or varying adjudications
of the questions of law and fact common to the Class. A class action on the other hand, would
achieve substantial economics of time, effort and expense and would assure uniformity of
decision as to persons similarly situated without sacrificing procedural fairness or brining about
other undesirable results

25. The interests of members of the Class in individually controlling the prosecution
of separate actions are theoretical rather than practical. The Class has a strong and pervasive
community of interest, and prosecution of the action through representatives would be
unobjectionable The amounts at stake for Class members while substantial in the aggregate are
not great enough individually to enable them to maintain separate suits against Defendants No
difficulty is anticipated in the management of this action as a class action,

INTERSTATE TRADE AND COMMERCE

26. During the Class Period, Defendants accounted for over 90 percent of all rail
shipments within the United States The U.S. market for rail transportation services is estimated
at more than 851 billion in 2006.

27. The activities of Defendants and their co-conspirators were Within the flow of,

and substantially affected interstate and international commerce During the Class Period,

 

,

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 63 of 107

Defendants and their co-conspirators sold and carried out rail shipments in a continuous and
uninterrupted flow of interstate and foreign commerce to shippers and customers throughout the
United States Each Defendant and their co-conspirators used instrumentalities of interstate or
foreign commerce (or both) to sell and market rail freight transportation services

28. The unlawful activities of Defendants and the unnamed co-conspirators have had
a direct, substantial, and reasonably foreseeable effect on interstate and international commerce

DEREGULATION OF THE RAILROAD INDUSTRY

29. Congress deregulated the railroad industry with passage of the Staggers Rail Act
of 1980. This landmark legislation marked a dramatic change in the evolution of U.S. railroads
After decades of regulatory control over virtually every aspect of their economic operations
railroads were free to set market rates for rail transportation

30. Prior to the Staggers Act, the interstate Commerce Commission ("ICC")
prohibited railroads from charging rates different from those contained in published tariffs filed
by the railroads with the lCC. Today, however, 80 percent or more of all rail shipments are
exempt from rate regulation or move under private transportation contracts Which are likewise
nee of rate regulation

31. Since 1980, the number of Class l railroads has declined dramatically, from 35 at
the time of passage of the Staggers Act to just seven today (two of which are owned by Canadian
entities). Five of these railroads -- the Defendants in this case -~ operate more than 90 percent of
all railroad track in the U.S. and account for more than 851 billion in total revenue

32. Rail freight shippers across the nation are being subjected to an endless string of
rate increases by railroads made possible by a concentrated market structure tight capacity, and

coordinated pricing. Although the reason for deregulation of the railroad industry was to promote

10

 

o.

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 64 of 107

competition and lower freight rates it is now clear that the opposite has come true - railroads are
collectively charging shippers supra-competitive rates

33. The railroad industry today does not behave like a competitive market lnstead, it
is dominated by the Defendants in this case As one prominent railroad economist put it: "[R]ates
charged shippers are surging and bottom lines are growing as if on steroids.” F rank N. Wilner, A
Tale of Two (Railroad) Stories, 72 JouRNAL OF TRANsPoRTATioN LAW, LoGisrics AND PoLIcY
235, 238 (2005).

THE RAILROADS INTRODUCE FUEL SURCHARGES

34. By the early 2000'5, the industry had consolidated to the point where further
mergers were unlikely if not impossible ln response to the proposed Burlington Northern Santa
Fe (BNSF) and Canadian National Railway Co. (CN) merger, the Surface Transportation Board
("STB"), which succeeded the lCC, put a moratorium on new mergers and then promulgated
more stringent standards for merger review. Railroads were experiencing surging neight
demand and tight capacity. ln this environment, the railroads faced a stark choice: build new rail
capacity to meet growing demand or squeeze more revenue out of shippers using existing
capacity. The railroads chose the latter course and seized on the rail fuel surcharge as the means
to implement their price fixing conspiracy,

35. Since passage of the Staggers Act in 1980, railroads had increasingly entered into
transportation contracts with cost escalation provisions often tied to the "Rail Cost Adjustment
Factor” ("RCAF“). The RCAF was published by the Association of American Railroads
("AAR"), the industry trade association and included fuel prices as a component of the cost
escalation ln fourth quarter 2002, the AAR ~ which is controlled by the major Class l railroads

- published for the first time, a RCAF without fuel (i.e. , a cost escalation index without fuel as a

ll

 

“.

. Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 65 of 107

component). This was not done by accident or mistake lt was a conscious decision made by the
AAR to remove fuel costs from the RCAF index so that Defendants which controlled the AAR,
could begin assessing separate Rail Fuel Surcharges and coordinating that practice

36. Predictably, that is what happened Following publication of the "RCAF index
without fuel," Defendants seized the opportunity and began to apply a Rail Fuel Surcharge as a
separate item on the shipper‘s bill. When the price of oil began to rise dramatically in late 2003
and early 2004, Defendants began to see that they could use monthly changes to the fuel
surcharge as an easy Way to dramatically increase their revenues without having to renegotiate
individual contracts or wait for new rail capacity to come on line to meet growing demand ~ so
long as all the Defendants participated and did not undercut each other.

DEFENDANTS’ PRICE FIXING CONSPIRACY

37. Commencing on or about luly 2003 or earlier, Defendants agreed to stop
competing with one another with respect to prices they charged rail shippers and customers for
carload shipments The key element of this price fixing conspiracy was an agreement by
Defendants to act in concert with one another in demanding the Rail Fuel Surcharges from rail
shippers and customers Pursuant to this conspiracy, Defendants all agreed to apply Rail Fuel
Surcharges computed as a percentage of the base rail freight rate (i.e., revenue), rather than as a
percentage of the actual cost of fuel consumption associated with the individual movement to
which the surcharge was applied

38. Such a "revenue~based" fuel surcharge bore no direct relationship to Defendants’
actual increase in fuel costs Defendants have acknowledged that their fuel surcharge program is

not a cost-recovery mechanism, but a revenue-enhancement measure intended to achieve across-

12

 

'.

Case |\/|DL No. 1869 Document.l Filed O6/O6/O7 Page 66 of 107

the-board increases in the prices charged by Defendants for unregulated rail freight
transportation

39. Defendants implemented their agreement by exchanging information both in
private and by publicly announcing agreed-upon surcharge increases and posting the monthly
fuel surcharge percentages on their websites. They did so for purposes of monitoring and
enforcing the agreed-upon Rail Fuel Surcharge levels.

40. As a result of Defendants‘ concerted action, prices of Rail Fuel Surcharges
charged to rail shippers and customers (members of the Class) were raised to or maintained at
supra-competitive levels throughout the Class Period.

4l. On January 25, 2007, the STB, which regulates'certain aspects of the railroad
industry, issued an administrative decision concluding that the railroads' practice of computing
Rail Fuel Surcharges as a percentage of base rate for regulated rail freight transport was an
“unreasonable practice," because the fuel surcharges are not tied to the fuel consumption
associated with the individual movements to which they are applied. Rail Fuel Surcharges STB
Ex Parte No. 66l (Jan. 25 , 2007).

42. The STB also found that the railroads had been "double dipping" ~ applying to the
same traffic both a fuel surcharge and a rate increase that is based on the RCAF or other index
that includes a fuel cost component The STB ordered Defendants to change these practices
The STB’s decision addressed rate~regulated rail freight traffic only (which is not the subject of
this Complaint). The STB stated that its decision does not apply to rail freight traffic under

contract or otherwise exempted from rate regulation

13

 

/.

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 67 of 107

43. Defendants applied the same unreasonable fuel surcharge practices to the private
rail freight transportation contracts and other unregulated freight transportation services at issue
in this case.

ELEMENTS OF THE PRICE FIXING CONSPIRACY

44. The essential element of Defendants’ conspiracy was an agreement to compute
Rail Fuel Surcharges not as a cost-recovery mechanism for the specific transportation to which it
was applied, but as a multiplier-percentage of the base rate charged for the rail freight
transportation involved. Defendants applied these surcharges not only to published tariff rates,
but to private contracts and other traffic not subject to rate regulation under federal law (i.e. , the
unregulated rates at issue here).

45. Defendants began to implement their conspiracy at least as early as July 2003
when the two Western railroads, BNSF and UP (the "Western Railroads"), agreed to coordinate
their prices relative to Rail Fuel Surcharges Pn'or to this time, the UP carload fuel surcharge
was adjusted monthly based on the West 'l`exas lntermediate Crude Oil Index ("WTI lndex").
The BNSF carload fuel surcharge was based on the U.S. Department of Energy (DOE) On-
Highway Diesel Fuel Price Index ("HDF Index"). ln or about July 2003, however, UP switched
to the HDF Index pursuant to an agreement with BNSF. From that point on, the Western

Railroads moved in lockstep and charged the exact same Rail Fuel Surcharge percentage for each
month of the Class Period.

46. The Western Railroads agreed to administer the HDF Index in precisely the same
way. Whenever the U.S. average price of diesel fuel as measured by the HDF Index equaled or
was lower than $1.35 per gallon, no surcharge was applied When the HDF Index exceeded

$1.35 per gallon, however, the Western Railroads both applied a surcharge of 0.5 percent for

14

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 68 of 107

every five-cent increase above $1.35 per gallon. So, for example, if the HDF Index rose to $1.55
per gallon, the Western Railroads would apply a surcharge of 2 percent. The surcharge Would
increase 2 percent for every 20 cents increase in the HDF Index.

47. The Western Railroads also coordinated when they would change their fuel
surcharge They agreed that the Rail Fuel Surcharge would be applied to shipments beginning
the second month after the month in which there was a change in the HDF average price
calculation So, for example, if the HDF Index average price changed in January, the Western
Railroads Would announce their new Rail Fuel Surcharge percentage on February l (always on
the first day of the month), and then apply the surcharge to shipments in March. The Western
Railroads published their monthly fuel surcharge percentages on their websites, making any
deviation from cartel pricing easily detectable.

48. The choice to use the HDF Index for fuel surcharges was arbitrary. The decision
to set the trigger point at $1.35 per gallon and to apply the surcharge in the second calendar
month after the HDF average price had changed was also arbitrary. The fact that the Western
Railroads both chose and adhered to this same combination of features for their Rail Fuel
Surcharge programs indicates that they coordinated their behavior. The similarities are both too
precise and too comprehensive to have been arrived at independently

49. Using the HDF index, the two Western Railroads moved in lockstep and charged
virtually identical Rail Fuel Surcharges on a monthly basis throughout the Class Period.

50. The HDF Index shows that the Fuel Surcharge Percentages charged by the
Western Railroads for carload shipments varied before the Class Period began, but Were identical

starting in July 2003.

15

 

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 69 of 107

51. Defendants CSX and NS, located in the East, began to implement the conspiracy
in February 2004 or earlier, and KCS, located in the Midwest, agreed to join the conspiracy in
June 2005 or earlier (Defendants CSX, NS and KCS collectively are the “Eastern Railroads").
The Eastern Railroads all agreed to base their fuel surcharge programs on the average monthly
price of West Texas lntermediate Crude Oil ("WTl Index”) as published in the Wall Street
Journal. Indeed, not only did these railroads all agree to use the WTI Index (as opposed to many
other available indices); once they had joined the conspiracy, they too agreed to administer the
index in precisely the same way.

52. Specifically, after an initial period in which their selected WTI-trigger price
differed, the Eastern Railroads agreed to apply a fuel surcharge whenever the monthly average
W"ll price exceeded $23 per barrel. When that happened, Defendants‘ rates were increased 0.4
percent for every dollar that the price of WTI oil exceeded $23 per barrel. So, for example, if the
price of WTI oil was 328 per barrel, the fuel surcharge percentage would be 2 percent The Rail
Fuel Surcharge would be adjusted upward at 2 percent for every $5 increase in the WTl average
price.

53. The Eastern Railroads also coordinated when they would change their fuel
surcharge ~ two calendar months after the WTI index had adj usted, thereby adopting fuel
surcharge price-timing used by the Western Railroads. For example, if the WTI average price
exceeded $23 per barrel in January, the Eastern Railroads would assess the applicable fuel
surcharge percentage to all bills of lading dated in the month of March. ln this way, Defendants
could apply exactly the same fuel surcharge percentage month after month, The Eastern

Railroads published their monthly fuel surcharge percentages on their websites, making any

deviation from cartel pricing easily detectable.

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 70 of 107

54. The choice to use the WTI lndex for fuel surcharges was arbitrary. The decision
to set the trigger point at $23 per barrel and to apply the surcharge in the second calendar month
after the average price of WTI oil had changed was also arbitrary. The fact that Defendants
CSX, NS, and KCS all chose and adhered to this same combination of features for their Rail Fuel
Surcharge programs indicates that they coordinated their behavior. The similarities are too
precise and too comprehensive to have been arrived at independently

55. The net result is that there was uniformity among the Eastern Railroads in the
monthly surcharge percentages they charged customers for most of the Class Period, Although
KCS used different fuel surcharge percentages for certain months of the Class Period, in June
2005 it adopted the same fuel surcharge percentage used by CSX and NS and moved in lockstep
with them for the remainder of the Class Period. KCS has different operations and fuel
consumption patterns from the larger U.S. railroads, making it unlikely that the KCS would
adopt the same fuel surcharge percentages as the other railroads absent a conspiracy,

56. The Rail Fuel Surcharge percentages charged by Defendants CSX and NS for
carload shipments varied before the Class Period, but were identical starting in February 2004,
and they also were identical to those of the KCS starting in June 2005, when the KCS joined the
conspiracy:

57. ln stark contrast to this uniformity in Rail Fuel Surcharge percentages, fuel cost as
a percentage of operating cost and fuel efficiency differs widely among the Defendant railroads
Absent collusion, it is extremely unlikely that Defendants, in both the East and the West, would
independently price their Rail Fuel Surcharges to arrive at the identical percentage month after
month, year after year, for a period of more than three years. The fact that Defendants have

moved in uniform lockstep for a period of nearly 38 months indicates that Defendants were

17

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 71 of 107

coordinating their behavior and conspired to fix prices for Rail Fuel Surcharges ln a
competitive environment, free of collusion, carriers with lower fuel costs would impose a lower
surcharge to obtain a competitive advantage
ADDITlONAL EVlDENCE OF CONSPIRACY

58. Apart from this direct evidence of price tixing, "plus factors" further support the
allegation that Defendants agreed to fix prices for Rail Fuel Surcharges. The rail transportation
industry is marked by certain structural and other characteristics that make a price fixing cartel
feasible:

a. The railroad industry is highly concentrated Defendants in this case are
the five remaining domestic Class l railroads following decades of mergers and consolidation
Defendants account for well over 90 percent of the nation‘s rail traffic, Such high concentration
facilitates the possibility of a price fixing cartel.

b. There are significant barriers to entry into the railroad industry. To
compete, railroads must invest in a vast network of tracks, stations, yards, and switching
facilities These take decades to develop, and require onerous regulatory and environmental
reviews and approval Land or easements are often needed, necessitating the involvement of
multiple local governments and the exercise of eminent domain power. Because rail
infrastructure is of minimal value for other purposes, and rail networks are difficult to assemble,
the fixed costs are largely sunk, creating significant entry barriers. Entry also requires that a new
entrant capture a significant market share from existing carriers Entry is thus both expensive
and risky.

c. Rail Fuel Surcharges, when computed as a percentage of revenue, are

highly standardized Defendants structured their Rail Fuel Surcharge programs as a percentage

18

 

CaSe_|\/|DL No. 1869 Document 1 Filed 06/06/07 . Page 72 of 107

of base-rates and then published the percentages on their websites, so the colluding railroads
could police the conspiracy without frequent communications lt is well-recognized that markets
having uniform and homogeneous products or services are susceptible to price fixing.

d. The railroad industry has a history of price fixing and other anti-
competitive behavior. In the first antitrust case dealing with the railroad industry, United States
v. Trans-Missouri Freight Ass ’n, 166 U.S. 290 _(1897), the railroad cartel argued that it must
price fix or the industry would go bankrupt Prior to deregulation, railroads engaged in open
price fixing through establishment of "rate bureaus” and "rate making committees." Although
these bodies have disappeared from the rail industry in the wake of the Staggers Act, the railroad
industry has continued to engage in market manipulation, unreasonable rate practices, and other
discriminatory practices against a wide spectrum of freight customers

e. The CEOS of Defendants are all board members of the AAR, which
facilitates transfer of pricing information The AAR describes itself as "the central coordinating
and research agency of the North American rail industry. " Full membership, however, is
available only to the seven Class l railroads operating in the United States, the five most
significant of which are Defendants here (the other two Class l railroads are owned by Canadian
companies). 'Ihe AAR Board meets regularly and board members (and their staff) regularly
communicate between meetings.

59. Apart from these structural market features, Defendants did not behave as if they
were in a competitive market Shippers from many different industries, some with significant
economic power, tried to negotiate the fuel surcharge percentages, but were told by the

Defendants that the Rail Fuel Surcharges were "not negotiable.”

19

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 73 of 107

60. Several national shipper organizations in fact met with each of the Defendants to
encourage them to reexamine the methods used to assess Rail Fuel Surcharges Among the
Defendants, only the BNSF agreed to make responsive changes to its surcharge program, and
that was only for grain and coal shipments coming from certain regions where the BNSF is the
only carrier. The other Defendants refused to address the concerns of their customers

61. At or about the time Defendants agreed to fix the Rail Fuel Surcharge prices, they
largely switched from offering long-term contracts to offering contracts that were “re-priced" in
new negotiations semi-annually, quarterly or monthly. Previously, Defendants had allowed, and
often preferred, long term contracts ranging up to five years with clauses that did not permit rate
increases beyond a certain point or that excluded fuel surcharges altogether.

62. Defendants made this switch even though most shippers preferred the former
system in order to minimize risk. In a competitive environment, forcing customers to assume
greater risks without any offsetting benefit (such as lower prices) would cause customers to seek

alternatives, which should promote competition between carriers for their business Here, all
Defendants raised prices and did not offer any compensation to customers for assuming
additional risk. This behavior gives rise to an inference of price fixing.

63. Defendants sometimes stopped offering "through rates," in which a shipper would
receive a single bill from either the originating shipper or the termination railroad and a single
fee would be allocated among the railroads that shipped Instead, Defendants moved to what is
known in the industry as "Rule ll pricing." Under Rule 11 pricing, where a shipment requires
movement on more than one cariier, the two rates are stated separately rather than as one quote

for the entire shipment Defendants made this change as part of their conspiracy for two reasons:

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 74 of 107

to provide transparency as to what each railroad Was charging on multiple line shipments and to
allow each railroad to apply the agreed-upon Rail Fuel Surcharge in its own 'territory.

64. Finally, demand for rail freight transportation services grew substantially during
the period of the conspiracy, and yet Defendants’ market shares remained relatively stable and
constant. The fact that market shares did not fluctuate significantly during the Class Period is
further indication that Defendants agreed to price fix rather than to compete for new sales.

DEFENDANTS PROFITED FROM THE SURCHARGES

65. Because fuel surcharges are generally designed to compensate for increases in
fuel costs, they should bear a relatively constant relationship to the actual cost of fuel associated
with the individual movements to which they are applied But since the beginning of the Class
Period and before, Defendants have used the Rail Fuel Surcharge not as a cost recovery
mechanism, but as a revenue enhancement measure. By computing the Rail Fuel Surcharge as a
percentage of the base rate charged the shipper, Defendants ensured that there would be no real

correlation between the rate increase and the increase in fuel costs for the particular shipment to
which the surcharge is applied

66. Thus, the ratio of Defendants’ profits to their actual fuel costs was high as a result
of the concerted implementation and maintenance of the agreed-upon Rail Fuel Surcharge
Through these Rail Fuel Surcharges, Defendants realized billions of dollars in revenues during
the Class Period in excess of their actual increase in fuel costs from the specific customers on
whom they imposed the surcharge

ANTlTRUST INJURY TO PLAINTIFF AND THE CLASS
67. The unlawful conduct, combination or conspiracy alleged herein had and is

having the following effects, among others:

21

 

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 75 of 107

a. The Rail Fuel Surcharges charged to Plaintiff and the Class for
unregulated rail freight transportation have been fixed or stabilized at supra-competitive levels;

b. Plaintiff and the Class have been deprived of the benefits of free, open and
unrestricted competition in the market for unregulated rail freight transportation; and

c. Competition in establishing the prices paid in the United States for
unregulated rail freight transportation has been unlawfully restrained, suppressed and eliminated.

68. By reason of the violations of Section l of the Sherman Act and Section 4 of the
Clayton Act, Plaintiff and the members of the Class have sustained injury to their business or
property. The injury sustained by Plaintiff and the Class is the payment of supra-competitive
prices for Rail Fuel Surcharges applied to unregulated rail freight transportation as a result of
Defendants’ illegal contract, combination, and conspiracy to restrain trade as alleged. This is an
antitrust injury of the type that the federal laws were meant to punish and prevent
COUNT ONE

(Violation of § 1 of the Sherman
Action and § 4 of the Clayton Act)

69. Plaintiff incorporates by reference the allegations in the above paragraphs as if
they were fully set forth herein.

70. Defendants entered into and engaged in a contract, combination or conspiracy in
unreasonable restraint of trade in violation of Section l of the Sherman Act and Section 4 of the
Clayton Act.

71. The contract, combination or conspiracy resulted in an agreement, understanding
or concerted action between and among Defendants in furtherance of which Defendants fixed,
maintained, and standardized prices for Rail Fuel Surcharges for rail freight transportation

handled through private contracts and other means exempt from regulation Such contract,

22

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 76 of 107

combination, or conspiracy constitutes a per se violation of the federal antitrust laws and is, in
any event, an unreasonable and unlawful restraint of trade.

72. Defendants’ contract, combination, agreement, understanding or concerted action
occurred within the flow of, and substantially affected, interstate and international commerce
Defendants’ unlawful conduct was through mutual understandings or agreements by, between
and among Defendants

73.‘ The contract, combination or conspiracy has had the following effects:

a. Prices charged to Plaintiff and the Class for Rail Fuel Surcharges applied
to unregulated rail freight transportation were fixed and/or maintained at supra-competitive
levels;

b. Plaintiff and the Class have been deprived of the benefits of free, open and
unrestricted competition in the market for unregulated rail freight transportation services; and

c. Competition in establishing the prices paid, customers of, and territories
for unregulated rail freight transportation services has been unlawfully restrained, suppressed and
eliminated

74. As a proximate result of Defendants' unlawful conduct, Plaintiff and the Class
have suffered injury in that they have paid supra-competitive prices for Rail Fuel Surcharges
applied to unregulated rail freight transportation services during the Class Period. v

WHEREFORE, Plaintiff prays for relief as follows:

(l) That the Court determine that this action may be maintained as a class
action under Rules 23 of the Federal Rules of Civil Procedure, that

Plaintiff be denominated as class representative, and that Plaintiffs
counsel be appointed as counsel for the Class;

(2) That the unlawful contract, combination and conspiracy alleged in Count
One be adjudged and decreed to be an unreasonable restraint of trade or
commerce in violation of Section l of the Sherman Act;

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 77 of 107

(3) That Plaintiff and the Class recover compensatory damages, as provided
by law, determined to have been sustained as to each of them, and that
judgment be entered against Defendants on behalf of Plaintiff and each
and every member of the Class;

(4) That each of the Defendants’ respective officers, directors, agents and
employees, and all other persons acting on behalf of or in concert with
them, be permanently enjoined and restrained from, directly or indirectly,
continuing or maintaining the combination, conspiracy, or agreement
alleged in this case;

(5) That Plaintiff and the Class recover treble damages, as provided by law;
(6) That Plaintiff and the Class recover their costs of the suit, including
attorney's fees, as provided by law; and
(7) For such further relief as the Court may deem just and proper.
DEMAND FOR JURY TRIAL

Pursuant to Rule 38(e) of the Federal Rules of Civil Procedure, Plaintiff demands a jury
trial as to all issues triable by a jury.
CERTIFICATION
Counsel for Plaintiff hereby certifies, pursuant to Local Civil Rules 11.2 and 40.1(0)(2),
that, to the best of their knowledge, this case and matter in controversy is related to another
action filed in the District of New Jersey on May 14, 2007, styled Dust Pro, Inc. v. CSX
Transportation, Inc., BNSF Railway Company, Union Pacific Railroad Company, Norfolk
Southern Railway Company, and Kansas City Southern Railway Company.
Dated: May 15, 2007 Respectfully submitted,
TRUJILLO RODRIGUEZ & RICHARDS L.L.C
By: s/ Lisa J. Rodriguez
Lisa J. Rodriguez
8 Kings Highway West
Haddonfield, New Jersey 08033

Telephone: (856) 795-9002
Fax: (856) 795-9887

E mail: lisa(@rrlaw.com

24`

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 78 of 107

Robert N. Kaplan

Linda P. Nussbaurn

KAPLAN FOX & KILSHEIMER L.L.P.
805 Third Avenue, 22“d Floor

New York, New York 10022

Telephone: (212) 687-1980

Fax: (212) 687-7714

E mail: rkaplan@kaplanfox.com

E mail: lnussbaum@kanlanfox.com

Michael E. Criden

Kevin B. Love

HANZMAN, CRIDEN & LOVE, P.A.
7301 s.W. 57th courc, suite 515

South Miami, Florida 33143

Telephone: (305) 357-9000

Facsimile: (305) 357-9050

E mail: mcriden@hanzmancriden.com

E mail: klove@hanzmancriden.com

Attorneys for Plaintifflsaac Industries, Inc.

25

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 79 of 107

lT|
><

E'.
9'.
l-I'
O

 

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 80 of 107

U»H FH.`."ED

MAY 25 2007 /`0

UNITED srATEs DISTRICT CouRr MAK 25 °2?'?7
NoRTnERN DISTRICT 0FILL1Nors \l\°** E\- W~ bOBB 3

 

DAD’s PRODUCTS COMPANY, 1NC., on O7CV2954
behalf ofitself and all others similarly situated, JU DGE DER YEGH |AYAN
Pla‘““ff’ |VlAG .J UDGE DENLOW
V.
CLASS ACTION COMPLAINT and
BNSF RAILWAY COMPANY, CSX DEMAND FOR JURY TRIAL

TRANSPORTATION, lNC., KANSAS ClTY
SOUTHERN RAILWAY COMPANY,
NORFOLK SC)UTHERN RAILWAY
COMPANY, and UNION PACIFIC
RAILROAD COMPANY,

 

Defendants

Plaintiff Dad’s Products Company, Inc. (“Dad’s Products” or “Plaintiff"), by and through
undersigned counsel, complains and alleges upon information and belief except as to those
paragraphs applicable to Plaintiff individually, which are based on personal knowledge Plaintiff
brings this action individually and on behalf of a class of all those similarly situated, as defined
below, seeking treble damages under the antitrust laws of the United States against Defendants,
and alleges as follows:

NATURE OF THE ACTION
l. This antitrust class action charges that five United States-based railroads have

engaged in price fixing in violation of Section l of the Sherman Antitrust Act of 1890 (“Sher'man
Act”), 15 U.S.C. § l. Plaintiff brings this action to recover treble damages under Section l of the
Sherman Act, pursuant to Section 4 of the Clayton Act 0f1914 (“Clayton Act"), 15 U.S.C. § l5.

2. Plainti ff brings this action on behalf of itself and a class of entities who purchased

unregulated rail freight transportation services directly from Defendants and their co-conspirators

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 81 of 107

from July l, 2003 to the present (the “Class Period”) and who were assessed a rail fuel surcharge
for the agreed-upon transportation (the “Class”). As used herein, the term “unregulated” refers
to rail freight transportation services for which rates are set by private contracts or through other
means exempt from rate regulation under federal law§

3. During the Class Period, Defendants conspired to fix, raise, maintain, and/or
stabilize prices of rail freight transportation services sold in the United States through use of so-
called “rail fuel surcharges” added to customers’ bills. A rail fuel surcharge (hereatler, “Rail
Fuel Surcharge”) is a separately-identified fee added to the base rate charged by railroads for
agreed-upon transportation

4. Defendants maintained uniformity of Rail Fuel Surcharges throughout the Class
Period by agreeing to compute the surcharges as a percentage of the rail-freight transport base
rate and by agreeing upon common indices, timing, and trigger points for adjusting the
percentages Although the purported purpose of a Rail Fuel Surcharge is to allow recovery by a
railroad of an unanticipated fuel cost increase, Defendants, by working in concert, were able to
use Rail Fuel Surcharges as revenue generators and profit centers.

5. 'l`he manner in which Defendants set their Rail Fuel Surcharges was both
arbitrary, because numerous other mechanisms were availablc, and flawed, because other
available mechanisms were superior means of recovering unanticipated fuel costs as opposed to
simply inflating profits. Defendants would not have naturally made the arbitrary choices they

did if they had acted unilaterally Without working in concert, Defendants would not have been
able to set and maintain their Rail Fuel Surcharges at their inflated levels.

6. During the Class Period, some industry analysts observed the “convergence” in

the Rail Fuel Surcharge methodologies adopted by Defendants and found this phenomenon

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 82 of 107

. .'.',_....__'-_...._.,,_.__,._

. puzzling given the flaws in the methodologies adopted and the fact that the independent adoption

of these methodologies would not be in each railroad’s self interest For example, after

completing a study in 2003 concluding that Rail Fuel Surcharges charged by Defendants were
. “not supported” by fuel cost inereases, one industry analyst stated that she was “puzzled by the
fact that the railroads appear to be matching fuel surcharges rather than developing their own
pricing initiatives.” This was confounding because "the way to gain significant market share is
to lead the competition rather than following the competition.” The fact that Defendants were
working in concert, and not unilaterally, explains their behavior.

7. Defendants published their Rail Fuel Surcharges on their websites to facilitate
signaling, coordination, and the detection of any deviation from collusive pricing. At the same
time, Defendants did not provide information to their customers that would enable them to
evaluate the extent to which Rail Fuel Surcharges related to unanticipated fuel eosts.

8. As a direct and proximate result of this price-fixing conspiracy, Defendants have
restrained competition among unregulated rail freight transportation services and injured Plaintiff
. and the members of the Class in their business and property. Plaintiff, and the other members of

the Class, paid a higher price for unregulated rail freight transportation than would have been
paid absent the concerted unlawful activity alleged herein.
. PARTlES
9. Dad’s Products Company, lne. (“Dad’s Products"`) is a corporation organized and
existing under the laws of the State of Pennsylvania, with its principal place of business at 18746
. Mill Street, Meadville, Pennsylvania, 16335. During the Class Period, Dad’s Products purchased

unregulated rail freight transportation directly from one or more of the Defendants and was

assessed a Rail Fuel Surcharge in connection with that purchase

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 83 of 107

10. Defendant BNSF Railway Company (“BNSF”) has its principal place of business
at 2650 Lou Menk Drive, Port Worth, Texas 76131. In Chicago, BNSF operates BNSF Logistics
Park, which serves as the national center for the conipany’s logistics services BNSF maintains
major intermodal hubs at Logistics Park and Corwith Yard, Chicago. In 2006, these sites
represented, respectively, BNSF’s third and second largest facilities in terms of lift volume.
(Four of BNSF"s top ten intermodal hubs are located in lllinois.) BNSF also operates and serves
rail terminals in Cicero and Hodgkins, Illinois. BNSF is a wholly owned subsidiary of the
Burlington Northern Santa Fe Corporation, the holding company formed by the September 22,
1995 merger of Burlington Northern and Santa Fe Corporation. BNSF is the second largest
railroad network in North America and operates 32,000 route miles of railroad BNSF has
offices and rail lines throughout the Western United States, extending into the Southeastem
states.

11. Defendant CSX Transportation, Inc., (“CSX”) has its principal place of business
at 500 Water Street, Jacksonville, Floricla, 32202. CSX maintains an operation center in Calumet
City, Illinois and major rail yards in Chicago, Riverdale, and Bedford Park. CSX has railway
lines throughout the Eastern United States. In Illinois, CSX maintains more than l,000 miles of

track and employs more than 1,000 of the State’s residents

12. Defendant Kansas City Southern Railway Company (“KCSR") has its principal
place of business at 427 West 12lh Street, Kansas City, Missouri, 64105. KCSR originates and
terminates traffic in this District by providing rail transportation in interchange service with
BNSF and the l`owa, Chicago & Eastem Railroad Company, KCSR owns and operates major

freight railroad in ten midwestern and southern states, including lllinois.

 

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 84 of 107

. _________,_ ________

. 13. Defendant Norfolk Southern Railway Company ("NS”) has its principal place of
business at Three Commercial Place, Norfolk, Virginia, 23510. NS maintains an intermodal
operations center at 7600 South Western Avenue, Chicago, Illinois, 60620 and operates and

. serves rail terminals in Chicago, NS’s network of tracks includes more than 21 ,000 route miles
in 22 states in the Eastern US and in Ontario, Canada. NS serves all major eastern ports and
connects with rail partners in the West, linking customers to markets around the world.

. 14. Defendant Union Pacific Railroad Company (“UP”) has its principal place of
business at 1400 Douglas Street, Omaha, Nebraska, 68179. UP maintains a regional office in
Chicago at 436 West 25th Place, Chicago, lllinois, 60616, which also houses its Vice President of

. governmental affairs UP operates major terminals in Chicago, Rochelle, Do]ton, and Northlake,
through which it originates and terminates rail traffie. UP owns the Belt Railway Company of

. Chicago, and the Chicago Southshore and South Bend Railroad (both located in Chicago), and
operates four intermodal facilities in Illinois. According to the company’s website, “Illinois is a
key state for Union Pacific Railroad,” as main-line tracks frorn southern Illinois and St. Louis

. enter Chicago from the south, and UP’s east-west transcontinental line across Illinois terminates
at the company’s Proviso Yard in Northlake. UP operates 2,247 miles of track in Illinois and
employs rnore than 4,000 of the State’s residents UP serves primarily the western two-thirds of

. the US and maintains coordinated schedules with other rail carriers to handle freight to and from
other parts of the country.

15. Chicago is the only city where the major US and Canadian Class I railroads come

. together to interchange freight Annually, rail freight with a value of approximately $350 billion
moves through Chicago. Freight railroads in Chicago own 74 marshalling yards, including 17
for rail-truck intermodal traffic, and operate an estimated 1,200 daily trains. Due to its position

.

,5_

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 85 of 107

as the nation’s most important rail crossroads, major rail flows move between Chicago and all
regions of the US.
JURISDICTION AND VENUE
16. This action is brought under Section 4 ofthe Clayton Act, 15 U.S.C. §15, to
recover treble damages and reasonable attorneys fees from Defendants for the injuries sustained
by Plaintiff and members of the Class by reasons of Defendants’ violations of Section 1 of the

Sherman Act, 15 U.S.C. § l.

17. Jurisdiction ofthis Court is founded on 15 U.S.C. § 15 and 28 U.S.C.§§ 1331 and

1337 .

18. Venue is proper in this District pursuant to 15 U.S.C. §l 5(a) and 22 and 28 U.S.C.
§1391. Defendants maintain offices, have agents, transact business, and are found within this
judicial District; a substantial part of the events giving rise to the claims for relief occurred in
this District; and Defendants regularly and continuously conduct business in interstate commerce
that is carried out in part in this District

19. This Court has personal jurisdiction over each Defendant becausc, inter alia,
each: (a) transacted business in this District; (b) directly or indirectly sold and delivered rail
transportation services in this District; (c) has substantial aggregate contacts with this District;
and (d) engaged in an illegal price-fixing conspiracy that was directed at, and had the intended

effect of causing injury to, persons and entities residing in, located in, or doing business in this

District.

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 86 of 107

CLASS ACTION ALLEGATIONS
20. Plaintiff brings this action as a class action under Rules 23(a) and (b)(3) of the

Federal Rules of Civil Procedure, on behalf of itself and others similarly situated. The “Class” is
defined as:

All purchasers of rail freight transportation services from

Defendants, through use of private railroad-shippers contracts or

through other means exempt from rate regulation under federal

law, as to which Defendants assessed a Rail Fuel Surcharge, at any

time from at least as early as July 1, 2003 to the present (the “Class

Period”). Excluded from the Class are Defendants, any

subsidiaries or affiliates of Defendants, any of Defendants’ co-

conspirators whether or n'ot named in this Complaint, and
governmental entities (the “Class”).

21. Because such information is in the exclusive control of Defendants, the exact
number of Class members is unknown to Plaintiff as this time, Due to the nature and magnitude
of the trade and commerce involved, however, Plaintiff believes that the members of the Class
number, at leas‘t, in the thousands and are geographically dispersed throughout the United States
so that joinder of all class members would be impracticable Plaintiff further believes the
members of the Class can be readily ascertained from Defendants’ books and records.

22. Plaintiff’s claims are typical of the claims of the other members of the Class.
Plaintiff and all members of the Class directly purchased unregulated rail freight transportation
from Defendants, with respect to which Defendants imposed the artificially inflated Rail Fuel
Surcharges established and maintained by the actions of Defendants in connection with the
restraint of trade alleged herein.

23. Plaintiff will fairly and adequately protect the interests of the members of the

Class and has retained counsel competent and experienced in class action and antitrust litigation.

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 87 of 107

24. Common questions of law and fact exist as to all members of the Class which
predominate over any questions affecting solely individual members of the Class. Among the
questions of law and fact common to the Class are:

a. whether Defendants conspired, contracted, and/or combined with others,
for the purpose or with the effect of raising, fixing, maintaining, or
stabilizing the price of Rail Fuel Surcharges applied to unregulated rail
freight transportation services purchased by the Class;

b. the duration of the conspiracy, contract, or combination alleged in this
Complaint;

c. the nature and character of the acts performed by Defendants in furtherance
of the conspiracy, contract, or combination;

d. whether Defendants’ conduct violated the federal antitrust laws', and

e. whether Defendants’ conduct caused injury to the business and property of
Plaintiff and the Class and, if so, the proper measure of damages

25. A class action is superior to other available methods for the fair and efficient
adjudication of this controversy since joinder of all Class members is impracticable The
prosecution of separate actions by individual members of the Class would also impose heavy
burdens upon the courts and Defendants, and would create a risk of inconsistent adjudications of
the questions of law and fact common to the Class. A class action, on the other hand, would

achieve substantial economies of time, effort, and expense and would assure uniformity of
decision as to persons similarly situated without sacrificing procedural fairness or bringing about

other undesirable results

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 88 of 107 _

26. The Class has a strong and pervasive community of interest, and prosecution of
the action through representatives would be unobjectionable The amounts at stake for Class
members, while substantial in the aggregate, are not great enough individually to enable them to
maintain separate suits against Defendants No difficulty is anticipated in the management of
this action as a class action.

INTERSTATE TRADE AND COMMERCE

27. During the Class Period, Defendants accounted for over 90 percent of all rail
shipments within the United States. The US market for rail transportation services was estimated
at more than $51 billion in 2006.

28. The activities of Defendants were within the flow of, and substantially affected,
interstate and international commerce During the Class Period, Defendants sold and carried out
rail shipments in a continuous and uninterrupted flow of interstate and foreign commerce to
shippers and customers throughout the United States. Each Defendant used instrumentalities of
interstate or foreign commerce (or both) to sell and market rail freight transportation services

29. The unlawful activities of Defendants have had a direct, substantial, and
reasonably foreseeable effect on interstate and international commerce

BACKGROUND
Deregulation of the Railroad lndustry

30. Over 25 years ago, Congress transformed federal regulation of the railroad
industry, After almost 100 years of economic regulation, the railroad industry was in serious
economic trouble in the l970s, with rising costs, losses, and bankruptcies ln response, Congress

passed the Railroad Revitalization and Regulatory Reform Act of 1976 and the Staggers Rail Act

of 1980 (“Staggers Act”).

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 89 of 107

31 . 'l`ogether, these pieces of legislation substantially deregulated the railroad
industry. ln particular, the Staggers Act encouraged greater reliance on competition to set rates
and gave railroads increased freedom to price their services according to market conditions
These acts also allowed railroads and shippers to enter into contracts that set rates and prohibited
the Interstate Commerce Commission (“ICC”), and later the Surface Transportation Board
("STB"), from regulating rates where railroads had either effective competition or rates
negotiated between the railroad and the shipper. At the same time, the Staggers Act anticipated
that some shippers might not have competitive altematives - commonly referred to as “captive
shippers” - and the ICC (later the STB) was given the authority to establish a process whereby
captive shippers could obtain relief from unreasonably high rates (The ICC Termination Act of
1996 abolished the ICC and transferred its regulatory functions to the STB.)

32. 'I`oday 80 percent or more of all rail shipments are exempt from rate regulation or
move under private transportation contracts, which are likewise free of rate regulation .

Bg_ilroad Consolidation

33. During the past 30 years, the freight railroad industry has become significantly
more concentrated ln 1976, there were 30 independent Class I railroad systems, consisting of 63
Class 1 railroads, operating in the United States Currently, there are seven Class I railroads (two
of which are owned by Canadian entities). (As of 2004, a Class l railroad is any railroad with
operating revenue over $277.7 million.) Nearly half of that reduction was attributable to
consolidations

34. By the early 2000’s, the industry had consolidated to the point where further

mergers were unlikely, if not impossible ln response to the proposed Burlington Northern Santa

_j()-

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 90 of 107

Fe (“BNSF”) and Canadian National Railway Co. (“CN”) merger, the STB placed a moratorium
on new mergers and promulgated more stringent standards for merger review.
Defendants_[gtroduce Fuel SurchL'_g_§

35. Following deregulation, railroad rates declined for a time. Railroad rates
generally declined between 1985 and 2001 , but they began to increase in 2001 and increases
continued through 2006. During the period of rate increases Defendants also began shifting
certain costs to shippers, including by introducing Rail Fuel Surcharges As further explained
below, this has allowed Defendants to coordinate rate increases, through the guise of surcharges
which are purported to be related to cost recovery.

36. After passage of the Staggers Act in 1980, railroads began entering into
transportation contracts with cost escalation provisions often tied to the “Rail Cost Adjustment
Factor” (“RCAF”). The RCAF was published by the Association of American Railroads
(“AAR”), the industry trade association, and included fuel prices as a component of the cost
escalation. l`n the fourth quarter of 2002, the AAR ~ which is controlled by the Class 1 railroads
(i.e. the Defendants) ~ published, for the first time, a RCAF without a fuel component This
decision to remove fuel costs from the RCAF index facilitated Defendants’ ability to begin
assessing separate Rail Fuel Surcharges and coordinating that practice.

37. Following publication of the RCAF index without fuel, or the “All-lnclusive
index Less Fuel” (“All-LF”), Defendants began to apply a Rail Fuel Surcharge as a separate item
on a shipper’s bill. When the price of oil began to rise in late 2003 and early 2004, Defendants
saw that they could use monthly changes to the fuel surcharge as an easy way to increase their
revenues without having to renegotiate individual contracts or wait for new rail capacity to come

on line - so long as all Defendants participated and did not undercut each other.

_jj-

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 91 of 107

DEFENDANTS’ PRICE-FIXING C()NSPlRACY

38. Commencing in or about July, 2003 or earlier, Defendants agreed to begin
coordinating the prices they charged rail shippers and customers for carload shipments The key
element of this price-fixing conspiracy was an agreement by Defendants to act in concert with
one another in demanding Rail Fuel Surcharges from rail shippers and customers and by
agreeing to compute Rail Fuel Surcharges as a percentage of the base rail-freight rate paid by
customers (i.e., revenue).

39. Such a “revenue-based” fuel surcharge bears no direct relationship to Defendants’
actual increase in fuel costs This is in part because railroads rely on differential pricing, under
which rates are dependent on factors other than cost. Thus, a fuel surcharge program that
increases all rates by a set percentage stands virtually no prospect of reflecting the actual
increase in fuel costs for handling the particular traffic to which the surcharge is applied Two
shippers may have traffic with identical fuel costs, but if one starts out with a higher base rate, it
will pay dramatically more in fuel surcharges Indeed, Defendants have acknowledged that their
fuel surcharge program is not a cost recovery mechanism, but a revenue enhancement measure
intended to achieve across-the-board increases in the prices charged by Defendants for
unregulated rail freight transportation

40. Defendants implemented their agreement by exchanging information both in
private and by publicly announcing agreed-upon surcharge increases and posting the monthly
fuel surcharge percentages on their websites. This was done for purposes of monitoring and
enforcing the agreed-upon Rail Fuel Surcharge levels At the same time, Defendants did not
provide to their customers information that would enable the customers to determine the

relationship between the Rail Fuel Surcharges and Defendants’ unanticipated fuel cost increases

..12_

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 92 of 107

-»._.._._._~___ ___,

41. As a result of Defendants’ concerted action, prices of Rail Fuel Surcharges
charged to rail shippers and customers (members of the Class) were raised to or maintained at
supracompetitive levels throughout the Class Period.

42. On January 25, 2007, the STB, which regulates certain aspects of the railroad
industry, issued an administrative decision concluding that the railroads’ practice of computing
Rail Fuel Surcharges as a percentage of base rate for regulated rail freight transport was an
“unreasonable practice,” because, inter alia, the fuel surcharges are not tied to the fuel
consumption associated with the individual movements to which they are applied. Rail Fuel
Surcharges, STB Ex Parte No. 661 (Jan. 25,' 2007).

43. 'l`he STB also found that the railroads had been “double dipping” - applying to
the same traffic both a fuel surcharge and a rate increase that is based on the RCAF or another
index that includes a fuel cost component The STB ordered Defendants to change these
practices The STB’s decision addressed rate regulated rail freight traffic only (which is not the
subject of this Complaint). The STB stated that its decision does not apply to rail freight traffic
under contract or otherwise exempted from rate regulation

44. Defendants applied the same unreasonable fuel surcharge practices to the private
rail freight transportation contracts, and other unregulated freight transport, at issue in this case.

ELEMENTS OF THE PRICE-FIX]NG CONSPlRACY

45. Defendants’ conspiracy involved an agreement to employ Rail Fuel Surcharges
not as a cost recovery mechanism for the transportation to which the surcharge was applied, but
as a multiplier percentage of the base rate charged for the rail freight transportation involved,

46. Defendants began to implement their conspiracy at least as early as June, 2003

when the two western railroads, BNSF and UP (the “Wcstern Railroads”), agreed to coordinate

_13-

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 93 of 107

their prices relative to Rail Fuel Surcharges Prior to this time, the UP carload fuel surcharge
was adjusted monthly based on the West Texas lntermediate Crude Oil Index (the “WTI lndex”).
'I`he BNSF carload fuel surcharge was based on the US Department of Energy On-Highway
Diesel Fuel Price Index (the “HDF lndex”). ln or about June, 2003, however, UP switched to the
HDF Index pursuant to an agreement with BNSF. From that point on, the Western Railroads
moved in lockstep and charged the exact same Rail Fuel Surcharge percentage for each month of
the Class Period.

47. The Western Railroads agreed to administer the HDF Index in precisely the same
way. When the US average price of diesel fuel as measured by the HDF Index equaled or was
lower than $1.35 per gallon, no surcharge was applied. When the HDF Index exceeded $1.35
per gallon, however, the Western Railroads both applied a surcharge of 0.5 percent for every five
cent increase above $1.35 per gallon. So, for example, if the HDF Index rose to $1.55 per
gallon, the Western Railroads would apply a surcharge of 2 percent The surcharge would
increase 2 percent for every 20 cents increased in the HDF Index.

48. The Western Railroads also coordinated when they would change their Rail Fuel
Surcharge. They agreed that the surcharge would be applied to shipments beginning the second
month after the month in which there was a change in the HDF average price calculation. For
example, if the HDF Index average price changed in .lanuary, the Western Railroads would
announce their new Rail Fuel Surcharge percentage on February 1 (always on the first day of the
month), and then apply the surcharge to shipments in March. The Western Railroads published
their monthly fuel surcharge percentages on their websites, making any deviation from cartel

pricing easily detectable

-14_

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 94 of 107

49. The choice to use the HDF Index for setting the fuel surcharge was arbitrary.
Other indices exist, for example, that would potentially be more desirable to customers The
HDF Index price is essentially the average retail price paid at truck stops and service stations for
diesel fuel, and it includes taxes However, the Western Railroads buy their fuel in bulk, at
wholesale not retail prices, and without having to pay certain taxes These and other differences
introduce a high level of variability in the fluctuations between the HDF Pricing Index and the
Western Railroads’ actual incremental fuel costs For example, according to BNSF’s investor
reports, BNSF’s average cost for diesel fuel in the third quarter rose by 14.4 percent from 2003
to 2004, In contrast, the average HDF lndex price over the same period increased by 25.3
percent. Thus, under BNSF’s fuel surcharge, BNSF shippers would have been forced to pay on
an incremental basis almost double the increase BNSF actually incurred for its diesel fuel costs.
lndeed, under the use of the HDF Index, Rail Fuel Surcharges can increase even when
incremental fuel costs have not changed, or even when they have decreased » if non-fuel index
costs increase

50. Also arbitrary was the decision by the Western Railroads to set the trigger point

at $1.35 per gallon and to apply the surcharge in the second calendar month after the HDF

average price had changed. The fact that the Western Railroads chose and adhered to the same
index and the same combination of features for their Rail Fuel Surcharge programs is evidence

that they coordinated their behavior, The similarities are too precise and too comprehensive to

have been arrived at naturally and unilaterally.

51 . Using the HDF lndex, the two Western Railroads moved in lockstep and charged

virtually identical Rail Fuel Surcharges on a monthly basis throughout the Class Period.

-15-

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 95 of 107

52, The chart below shows that the Fuel Surcharge Percentages charged by the
Western Railroads for carload shipments varied before the Class Period began, but were identical

starting in July, 2003:

MONTHLY SURCHARGE PERCE-NTAGES - WESTERN RAILROADS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

MONTH BNSF UP
Jun ~ 02 l 0
Jul ~ 02 1 0
Aug - 02 0 0
Sep -02 0 0
Oct - 02 l% 0
Nov - 02 2% 0
Dec ~ 02 2.5% 0
Jan - 03 2% 2
Feb-O?). 2% 2
Mar - 03 2.5% 2
Apr ~ 03 4.5% 2
May - 03 2% 2
Jun - 03 3.0%
Jul - 03 2.5%
Aug - 03 2.0%
Sep - 03 2.5%
Oct ~ 03 2.5%
Nov - 03 2.5%
Dec - 03 2.5%
Jan ~ 04 2.5%
Feb ~ 04 2.5%
Mar ~ 04 3.5%
Apr -04 3.5%
May - 04 4.0%
Jun ~ 04 4.5%
Jul - 04 5.0%
Aug - 04 5.0%
Sep - 04 5.0%
Oct - 04 6.0%
Nov - 04 7.0%
Dec - 04 9.0%
Jan » 05 9.0%
Feb - 05 8.0%
Mar - 05 7.5%
Apr - 05 8.0%

 

..]6_

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 96 of 107

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

May ~ 05 10.0% 10.0%
Jun ~ 05 10.5% 10.5%
Jul ~ 05 9.5% 9.5%
Aug - 05 10.5% 10.5%
Sep - 05 ll.5% ll.5%
Oct - 05 l3.0% l3.0%
Nov - 05 16.0% l6.0%
Dec ~ 05 18,5% 18.5%
Jan _ 06 l3.5% l3.5%
Feb ~ 06 12.0% 12.5%
Mar »» 06 12.5% 12.5%
Apr ~ 06 12.5% 12.5%
May - 06 l3.5% l3.5%
Jun- 06 15.0% 15.0%
Jul - 06 16.5% l6.5% ;1
Aug - 06 l6.5% l6.5%
Sep ~ 06 l7.0% 17.0%
Oct - 06 18.0% 18.0%
Nov - 06 15.5% 15.5%
Dec - 06 13.0% 13.0%
Jang 07 l3.0% l3.0%
Feb - 07 l4.0% 14.0%
Mar - 07 12.5% 12.5%

 

 

53. Defendants CSX and NS, located in the East, began to implement the conspiracy
in February, 2004 or earlier, Defendant KCSR, located in the Midwest, agreed to join the
conspiracy in June, 2005 or earlier, (Defendants CSX, NS, and KCSR collectively are the
“Eastern Railroads”). The Eastern Railroads all agreed to base their fuel surcharge programs on
the average monthly price of WTI as published in the Wall Street Journal. lndeed, not only did
these railroads all agree to use the WTI index (as opposed to many other available indices), once
they joined the conspiracy, they too agreed to administer the index in precisely the same way.

54. Specifically, after an initial period in which their selected WTI trigger price
differed, the Eastern Railroads agreed to apply a fuel surcharge whenever the monthly average
WTI price exceeded $23 per barrel. When that happened, Defendants’ rates were increased 0.4

percent for every $l dollar that the price of WTI oil exceeded $23 per barrel. So, for example, if

_17-

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 97 of 107

the price of WTI oil was 528 per barrel, the fuel surcharge percentage would be 2 percent. The
Rail Fuel surcharge would be adjusted upward at 2 percent for every $5 increase in the WTI
average price.

55. The Eastern Railroads also coordinated when they would change their fuel
surcharge ~ two calendar months after the WTI index had adjusted - thereby adopting the same
timing used by the Western Railroads For example, if the WTI average price exceeded $23 per
barrel in January, the Eastern Railroads would assess the applicable fuel surcharge percentage to
all bills of lading dated in the month of March. In this way, Defendants could apply the exact
same fuel surcharge percentage month after month, The Eastern Railroads published their
monthly fuel surcharge percentages on their websites, making any deviation from cartel pricing
easily detectable

56. The choice to use the WTI Index for fuel surcharges was arbitrary. Also arbitrary
was the decision to set the trigger point at $23 per barrel and to apply the surcharge in the second
calendar month after the average price of WTI oil had changed. The fact that Defendants CSX,
NS, and KCSR. all chose and adhered to this same combination of features for their Rail Fuel
Surcharge programs indicates that they coordinated their behavior. The similarities are too
precise and too comprehensive to have been arrived at naturally and unilaterally

57. The net result is that there was uniformity among the Eastern Railroads in the
monthly surcharge percentages they charged customers for most of the Class Period. Although
KCSR used different fuel surcharge percentages for certain months of the Class Period, in June,
2005 it adopted the same fuel surcharge percentage used by CSX and NS and moved in lock step

with them for the remainder of the Class Period. KCSR has different operations and fuel

_13_

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 98 of 107

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

.
. consumption patterns from the larger US railroads, making it unlikely that KCSR would adopt
l the same fuel surcharge percentages as the other railroads absent concerted conduct.
5 8. The chart below shows that the Fuel Surcharge Percentages charged by
. Defendants CSX and NS for carload shipments varied before the Class Period, but were identical
starting in February, 2004, and they also Were identical to those of the KCSR starting in June,
2005, when KCSR joined the conspiracy:
. MONTHLY SURCHARGE PERCENTAGES - EASTERN RAILROADS
MONTH CSX NS KCSR
J un ~ 03 2.4% 2%
. J ul - 03 2.4% 2%
/ Aug ~ 03 3.2% 2%
” sep _ 03 3. % 2%
Oct - 03 3.6% 2%
Nov ~ 03 2.4% 2.0%
. Dec - 03 3.2% 2.0%
Jan ~ 04 3.6% 2.0%
Feb - 04 4.0% 2%
Mar - 04 4.8% 4.8%
Apr -04 4.8% 4.8%
May - 04 5.6% 5.6%
¢ Jun _ 04 5.6% 5.6%
Jul - 04 7.2% 7.2%
Aug -~ 04 6.4% 6.4%
Sep ~ 04 7.2% 7.2%
Oct - 04 8.8% 8.8%
. Nov - 04 9.2% 9.2%
Dec - 04 12.4% 12.4% 10.0%
Jan - 05 10.4"0 10.4% 10.0%
Feb ~ 05 8.4% 8.4% 10.0%
Mar ~ 05 9.5% 9.5% 10.0%
Apr - 05 , 10.0% 10.0% a 10.0%
. May ~ 05 z 12.8% 12.8% § 10.0%
Jun - 05 l 12.4% 12.4% 12.4%
Jul ~ 05 10.8% 10,8% 10.8%
Aug-05 l3.6% l3.6% l3.6%
Sep ~ 05 14.4% § 14.4% 14,4%
. Oct - 05 § l6.8% § l6.8% l6.8%
_19_

 

§

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 99 of 107

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Nov _ 05 17.2% 17.2% 17.2%
Dec w 05 16.0% 16.0% 16.0%
ian - 06 14.4% 14.4% 14.4%
Feb _ 06 14.8% 14.8% 14.8%
Mar - 06 17.2% 17.2% 17.2%
Apr - 06 15.6% 15.6% 15.6%
May _ 06 16.0% 16.0% 16.0%
Jun-06 18.8% 18.8% 18.8%
Jul - 06 19.2% 19.2% 19.2%
Aug _ 06 19.2% 19.2% 19.2%
sep _ 06 20.8% 20.8% 20.3%
oct ~ 06 20.4€:/o 20.4% 20.4%
Nov ~ 06 16.4% 16.4% 16.4%
Dec _ 06 14.4% 14.4% 14.4%
ran _ 07 14.8% 14.8% 14.8%
Feb ~ 07 16.0% 16.0% 16.0%
Mar ~ 07 12.8% 12.8% 12.8%

 

 

 

 

59. ln contrast to this uniformity in fuel surcharge percentages, fuel cost as a
percentage of operating cost and fuel efficiency differs widely among the Defendant railroads
Absent collusion, it is extremely unlikely that Defendants, in both the East and the West, would
naturally and unilaterally price their Rail Fuel Surcharges to arrive at the identical percentage
month after month, year after year, for a period of more than three years. The fact that

Defendants moved in uniform lockstep for a period of nearly 38 months ~ in the face of
significant shipper opposition - indicates that Defendants were coordinating their behavior in
order to thwart competition and that they conspired to fix prices for Rail Fuel Surcharges In a
competitive environment, free of collusion, carriers with lower fuel costs would impose a lower
surcharge to obtain a competitive advantage

60. As some industry analysts observed, Defendants conduct is “puzzling” or
“surprising,” to say the least, if viewed as unilateral conduct. Since “the way to gain significant
market share is to lead rather than follow the competition," one industry analyst noted in 2003, “l

was puzzled by the fact that the railroads appear to be matching fuel surcharges rather than

-20_

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 100 of 107

developing their own pricing initiatives.” Similarly, an economic consulting firm examining the
industry in 2006, found it “suprising[]” that “Class l Railroads have each adopted Fuel Surcharge
designs which share the same flawed structure of applying a cost increase to rcvenue." The
explanation is that Defendants’ conduct was not unilateral conduct, but concerted action
designed to reap inflated profits by sabotaging competition
ADDITIONAL EVlDENCE OF A CONSP|RACY

61. Apart from this direct evidence of price fixing, “plus factors” further support the
allegation that Defendants agreed to fix prices for Rail Fuel Surcharges The rail transportation
industry is marked by certain structural and other characteristics that made Defendants’ price-
iixing cartel feasible:

(a) As discussed above, the railroad industry is highly concentrated Defendants in
this case are the five remaining domestic Class l railroads following decades of mergers and

consolidation Defendants account for well over 90 percent of the nation’s rail traffic.

(b) There are significant barriers to entry into the railroad industry, To enter,
railroads must invest in a vast network of tracks, stations, yards, and switching facilities These
may take decades to develop and require onerous regulatory and environmental reviews and
approval Land or easements are often needed, necessitating the involvement of multiple local
governments and the exercise of eminent domain power. Because rail infrastructure is of
minimal value for other purposes, and rail networks are difficult to assemble, fixed costs are
largely sunk. Successful entry also requires that a new entrant capture a significant market share

from existing carriers Entry is thus both expensive and risky.

(c) Rail Fuel Surcharges, as employed by Defendants, are highly standardized

Defendants structured their Rail Fuel Surcharges as a percentage of base rates and then published

-21_

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 101 of 107

the percentages on their websites so they could police their concerted conduct effectively and

without frequent communications

(d) The railroad industry has a history of price fixing and other anticompetitive
behavior. In the first antitrust case dealing with the railroad industry, United States v. Trans-
Missouri Freight Ass 'n, 166 U.S. 290 ('1897), the railroad cartel argued that it must price fix or
the industry would go bankrupt Prior to deregulation, railroads engaged iii open price fixing
through establishment of “rate bureaus” and “rate making committees.” Although these bodies
have disappeared from the rail industry in the wake of the Staggers Act, the railroad industry has
continued to engage in market manipulation, unreasonable rate practices, and other

discriminatory practices against a wide spectrum of freight customers

(c) Defendants’ Chief Executive Officers are board members of the AAR, the
industry’s trade association, which facilitates collusion and transfer of pricing information The
AAR describes itself as “the central coordinating and research agency of the North American rail
industry.” Full membership, however, is available only to the seven Class l railroads operating

in the United States, the five most significant of which are Defendants here (the other two Class I

railroads are owned by Canadian companies). The AAR Board meets regularly and board

members (and their staff) regularly communicate between meetings

62. Apart from these structural market fearures, Defendants did not behave as if they
were in a competitive market. Shippers from many different industries some with significant
economic power, tried to negotiate fuel surcharge percentages but were told by Defendants that

the Rail Fuel Surcharges were “not negotiable.”

_22_

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 102 of 107

63. National shippers organizations met with each of the Defendants to encourage
them to reexamine the methods used to assess Rail Fuel Surcharges Among the Defendants,
only BNSF agreed to make responsive changes to its surcharge program, and that was only for
grain and coal shipments coming from certain regions where the BNSF is the only carricr. The
other Defendants refused to address the concerns of their customers

64. At or about the time Defendants agreed to fix the Rail Fuel Surcharges, they
largely switched from offering lon g-teiin contracts to offering contracts that were “re-priced” in
new negotiations semi-annually, quarterly, or monthly Previously, Defendants had allowed, and
often preferred, long~term contracts ranging up to five years with clauses that did not permit rate
increases beyond a certain point or that excluded fuel surcharges altogether.

65. Defendants made this switch even though most shippers preferred the former
system in order to minimize iisk. In a competitive environment, forcing customers to assume
greater risks without any offsetting benefit (such as lower prices) would cause customers to seek
altematives, which should promote competition between carriers for their business, Here, all

Defendants raised prices and did not offer any compensation to customers for assuming

additional risk.

66. Defendants sometimes stopped offering “through rates," in which a shipper would
receive a single bill from either the originating shipper or the termination railroad and a single
fee would be allocated among the railroads that shipped Instead, Defendants moved to what is
known in the industry as “Rule ll pricing.” Under Rule l l pricing, where a shipment requires
movement on more than one carrier, the two rates are stated separately rather than as one quote

for the entire shipment Defendants made this change as part of their conspiracy for two reasons:

_23-

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 103 of 107

to provide transparency as to what each railroad was charging on multiple line shipments and to
allow each railroad to apply the agreed~upon Rail Fuel Surcharge in its own territory.

67. Finally, demand for rail freight transportation services grew substantially during
the period of the conspiracy, and yet Defendants’ market shares remained relatively stable and
constant The fact that market shares did not fluctuate significantly during the Class Period is
further indication that Defendants agreed to collude rather than to compete for new sales

DEFENDANTS PROFlTED FROM THE SURCHARGES

68. As discussed, since the beginning of the Class Period and before, Defendants have
used the Rail Fuel Surcharge not as a cost recovery mechanism, but as a revenue enhancement
measure By computing the Rail Fuel Surcharge as a percentage of the base rate charged to the
shipper, Defendants ensured that there would not be real correlation between the rate increase
and the increase in fuel costs for the particular shipment to which the surcharge is applied

69. The ratio of Defendants’ profits to their actual fuel costs was high as a result of
the concerted implementation and maintenance of the agreed~upon Rail Fuel Surcharge.

Through these Rail Fuel Surcharges, Defendants have realized billions of dollars in revenues
during the Class Period in excess of their actual increase in fuel costs from the specific customers
on whom they imposed the surcharge

ANTITRUST INJURY TO PLAINTIFF AND THE CLASS

70. The unlawful conduct, combination or conspiracy alleged herein had and is
having the following effects, among others:

a. the Rail Fuel Surcharges charged to Plaintiff and the Class for unregulated

rail freight transportation have been fixed or stabilized at supracompetitive levels;

_24_

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 104 of 107

b. Plaintiff and the Class have been deprived of the benefits of free, open,

and unrestricted competition in the market for unregulated rail freight

transportation; and

c:. competition in establishing the prices paid in the United States for

unregulated rail freight transportation has been unlawfully restrained, suppressed

and eliminated

7l. By reason of the violations of Section l of the Sherman Act and Section 4 of the
Clayton Act, Plaintiff and the members of the Class have sustained injury to their business or
property. The injury sustained by Plaintiff and the Class is the payment of supracompetitive
prices for Rail Fuel Surcharges applied to unregulated rail freight transportation as a result of
Defendants’ illegal contract, combination, and conspiracy to restrain trade as alleged This is an
antitrust injury of the type that the federal laws were meant to punish and prevent.
c_cm~u_l

(Violations Of§ 1 Of The Sherman
Act And 8 4 Of The Clayton Act)

72. Plaintiff incorporates by reference the allegations in the above paragraphs as if
they were fully set forth herein.

73. Defendants entered into and engaged in a contract, combination, or conspiracy in
unreasonable restraint of trade in violation of Section l of the Shemian Act and Section 4 of the
Clayton Act.

74. The contract, combination, or conspiracy resulted in an agreement, understanding,
or concerted action between and among Defendants in furtherance of which Defendants fixed,

maintained, and standardized prices for Rail Fuel Surcharges for rail freight transportation

handled through private contracts and other means exempt from regulation Such contract,

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 105 of 107

combination, or conspiracy constitutes a per se violation of the federal antitrust laws and is an
unreasonable and unlawful restraint of trade.

75. Defendants’ contract, combination, agreement, understanding, or concerted action
occurred within the flow of, and substantially affected, interstate and international commerce
Defendants’ unlawful conduct was accomplished through mutual understandings or agreements
by, between, and among Defendants

76. The contract, combination, or conspiracy has had the following effects:

a. prices charged to Plaintiff and the Class for Rail Fuel Surcharges applied
to unregulated rail freight transportation were fixed and/or maintained at supra-
competitive levels;

b. Plaintiff and the Class have been deprived of the benefits of frec, open,
and unrestricted competition in the market for rail freight transportation services;
and

c. competition in establishing the prices paid, customers of, and territories
for rail freight transportation services has been unlawfully restrained suppressed
and eliminated

77. As a proximate result of Defendants’ unlawful conduct, Plaintiff and the Class
have suffered injury in that they have paid supracompetitive prices for Rail Fuel Surcharges

applied to unregulated rail freight transportation services during the Class Period.

WHEREFORE, Plaintiff prays for relief as follows:

(l) That the Court determine that this action may be maintained as a class action
under Rule 23(b)(3) of the Federal Rules of Civil Procedure, that Plaintiff be

denominated as a Class representative, and that Plaintiff’s counsel be appointed as
counsel for the Class;

 

(2)

(3)
(4)

(5)

Case |\/|ch No. 1869 Document 1 Filed 06/06/07 Page 106 of 107

That the unlawful contract, combination, and conspiracy alleged in Count l be
adjudged and decreed to be an unreasonable restraint of trade or commerce in
violation of Section l of the Sherman Act;

That Plaintiff and the Class recover treble damages as provided by law;

That Plaintiff and the Class recover their costs of the suit, including attorney’s
fees, as provided by law; and

l~`or such further relief as the Court may deem just and proper.

DEMAND FOR JURY TRIAL

Pursuant to Rule 38(e) of the Federal Rules of Civil Procedure, Plaintiff demands a jury

trial as to all issues triable by a jury.

Dated: May _L;, 2007 Respectfully submitted

wai \_} A Mii.)

Carol V. Gilden

Cohen, Milstein, Hausfeld & Toll, P.L.L.C.
39 S. LaSalle Street, Suite 1100

Chicago, lllinois 60603

Tel: 312-357-0370

Fax: 312-357-0369

Michael D. Hausfeld
Benjamin D. Brown
Cohen, Milstein, Hausfeld & Toll. P.L.L.C.

1100 New York Avenue, N.W.
West Towcr, Suite 500
Washington, D.C. 20005

Tel: 202-408~4600

Fax: 202-408-4669

Steig D. Olson
Cohen, Milstein, Hausfeld & Toll, P.L.L.C.
150 sea 52“d street rhirneih Fieer
New York, N.Y. 10022

Tel: 212~838-779'7

Fax: 212-838-7745

--27_

 

Case |\/|DL No. 1869 Document 1 Filed 06/06/07 Page 107 of 107

Aithur N. Bailey

Arthur N. Bailey & Associates
lll West Second Street, Suite 4500
Jamestown, N.Y. 14701

7 l 6-664-2967

716-664-2983

Attorneys for Plaintiff

_28-

